Case: 1:17-md-02804-DAP Doc #: 1900-3 Filed: 07/19/19 1 of 144. PageID #: 83250




                   EXHIBIT 2
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further2 Confidentiality
                                                       of 144. PageID #: 83251
                                                                            Review

     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
    7
    8
    9                               __ __ __
   10                         Monday, May 13, 2019
                                   __ __ __
   11
              HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
   12                  CONFIDENTIALITY REVIEW
                              __ __ __
   13
   14
   15
   16            Videotaped Deposition of JAMES E.
           RAFALSKI, held at Weitz & Luxenburg PC, 3011
   17      West Grand Avenue, Suite 2150, Detroit,
           Michigan, commencing at 9:20 a.m., on the
   18      above date, before Michael E. Miller, Fellow
           of the Academy of Professional Reporters,
   19      Registered Diplomate Reporter, Certified
           Realtime Reporter and Notary Public.
   20
   21
   22
                                       __ __ __
   23
                        GOLKOW LITIGATION SERVICES
   24                877.370.3377 ph | fax 917.591.5672
                             deps@golkow.com
   25

  Golkow Litigation Services                                               Page 1
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further3 Confidentiality
                                                       of 144. PageID #: 83252
                                                                            Review

     1              Q.        Have you ever served as an
     2     expert witness on a consulting basis before?
     3              A.        No, sir, I have never served as
     4     an expert in the capacity of a consultant.
     5              Q.        Okay.     Have you ever written
     6     any articles that were published?
     7              A.        No, sir.
     8              Q.        Have you ever written anything
     9     of any kind that was published?
   10               A.        As a police officer, I wrote an
   11      article at the request of the Detroit News.
   12      It was in regards to the effectiveness of the
   13      DARE program.
   14               Q.        Okay.     So you wrote something
   15      for the Detroit -- is it the Detroit News?
   16               A.        Detroit News, it's the
   17      publication.
   18               Q.        Did that used to be the Detroit
   19      Free Press or is that a different paper?
   20               A.        Different paper.          Still two
   21      papers in Detroit.
   22               Q.        Okay.     Was that like an op-ed,
   23      like an editorial kind of thing?
   24               A.        Sure.     They published two, I
   25      guess, opinions, a pro and a con opinion.

  Golkow Litigation Services                                              Page 21
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further4 Confidentiality
                                                       of 144. PageID #: 83253
                                                                            Review

     1     Mine was the pro opinion of DARE, and there
     2     was a side-by-side con opinion of the
     3     effectiveness of that program.
     4              Q.        Okay.     So you wrote that.           Is
     5     there anything else you've ever written
     6     that's been published?
     7              A.        Not that I'm aware of, not that
     8     I gave any authorization for, no, sir.
     9              Q.        Okay.     Have you -- and this is
   10      pretty obvious, but you're not an attorney;
   11      is that correct?
   12               A.        Not an attorney, no, sir.
   13               Q.        So in giving your opinions
   14      today, you're not trying to give legal
   15      opinions; is that right?
   16               A.        Well, the opinion I'm trying to
   17      give is based on my training and experience
   18      and my knowledge of the law and the
   19      regulations that are required to be adhered
   20      to by the companies.            I'm not publishing a
   21      legal opinion as an attorney.
   22               Q.        Well, what I'm asking you is
   23      whether you -- are you offering today or in
   24      your report a legal -- a legal conclusion?
   25               A.        I think, yes, I am.

  Golkow Litigation Services                                              Page 22
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further5 Confidentiality
                                                       of 144. PageID #: 83254
                                                                            Review

     1              Q.        Okay.     Let me ask you a little
     2     about the work you've done in connection with
     3     this report.
     4                        First of all, the report is 180
     5     pages, I believe.
     6              A.        It is, sir.
     7              Q.        Did you write it?
     8              A.        Yes, sir.
     9              Q.        Okay.     You wrote it yourself or
   10      did you write it with help?
   11               A.        I wrote it with help.
   12               Q.        Okay.     How much time did you
   13      spend preparing your report?
   14               A.        Well, I didn't keep track if
   15      you're going to ask me the exact hours, but I
   16      would say a considerable amount of time.                     It
   17      pretty much consumed me.
   18               Q.        When did you start working on
   19      the report?
   20               A.        Well, probably in the fall of
   21      2018, I started having discussions about the
   22      type of documents and records that I would
   23      need, some of the topics in potential
   24      depositions, questions I would need to
   25      answer.       So I started to give the framework

  Golkow Litigation Services                                              Page 23
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further6 Confidentiality
                                                       of 144. PageID #: 83255
                                                                            Review

     1                        So within those families,
     2     there's -- my experience in doing these cases
     3     is there's generally a hierarchy of drugs
     4     where some drugs are ordered more often than
     5     others.      They're just generally prescribed
     6     more.
     7                        So during the course of when a
     8     potential diversion would occur, there could
     9     be one strength of drug which actually
   10      occurred -- which really impacted what
   11      happened in America -- the oxycodone 30
   12      product became a highly abused product.                    So
   13      companies should or would want to monitor
   14      within that drug family if there was a change
   15      in pattern where one drug started to get
   16      ordered in a much greater amount than the
   17      other drugs.
   18                         Along those same lines, another
   19      pattern is how companies order drugs.
   20      Typically in the old days they used DEA
   21      Form 222s.        That's a paper form with ten
   22      lines.      Some companies generally order drugs
   23      in the same manner.
   24                         I've reviewed countless number
   25      of forms, and as you go through the forms day

  Golkow Litigation Services                                               Page 64
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further7 Confidentiality
                                                       of 144. PageID #: 83256
                                                                            Review

     1     by day, you'll see patterns on how drugs are
     2     ordered, certain groups together.                  In the
     3     cases I've worked, when that pattern changes,
     4     so an easy one would be all of a sudden you
     5     see an order form with ten lines and all ten
     6     lines have oxycodone 30.              If a company would
     7     start to change a pattern of orders like
     8     that, that would be an easy one.
     9              Q.        Is it also possible that
   10      patterns or size or frequency can change
   11      suddenly based on changed circumstances in a
   12      particular community?
   13               A.        Sure, anything is possible.
   14               Q.        Well, I don't just mean
   15      anything is possible.            I mean, yes, anything
   16      is possible, but I'd like to be a little more
   17      specific.
   18               A.        Okay.
   19               Q.        Let's say -- let's say a
   20      hospital opens up in an area.                Would that
   21      change patterns and could it change ordering
   22      patterns and size of orders and frequency of
   23      orders?
   24               A.        Well, I think that obviously
   25      has a possibility to cause some change.                    I'm

  Golkow Litigation Services                                              Page 65
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further8 Confidentiality
                                                       of 144. PageID #: 83257
                                                                            Review

     1     not sure that it would change the pattern.
     2     It may change the amounts or the types.                    So
     3     another -- as was one of my examples, the
     4     types could change.
     5                        Anytime a business model
     6     changes or a new contract -- a better
     7     example, if I could give you a better
     8     example.
     9              Q.        Sure.
   10               A.        Is a pharmacy could enter into
   11      a contract with a long-term care facility,
   12      and if they didn't provide guidance or
   13      information to their distributor, they could
   14      just start ordering a controlled substance
   15      that would be out of the norm of something
   16      they ever ordered before.
   17                         That's kind of the essence of
   18      the suspicious order system because you would
   19      hope the system would trigger to stop that
   20      order.      Then it requires some due diligence
   21      where a company would actually call and they
   22      would learn about that contract.                 And then
   23      subsequent to that, the distributor or the
   24      person making the sale would probably confirm
   25      that that actual contract occurred and that

  Golkow Litigation Services                                               Page 66
Case: 1:17-md-02804-DAP
   Highly               Doc -#: Subject
             Confidential       1900-3 Filed:
                                          to 07/19/19
                                              Further9 Confidentiality
                                                       of 144. PageID #: 83258
                                                                            Review

     1     business relationship occurred.
     2                        So...
     3              Q.        So patterns can change?
     4              A.        Sure.
     5              Q.        Size can -- you know, unusual
     6     size can change.          Frequency can change
     7     depending on the circumstances that occur in
     8     a particular community, right?
     9              A.        I've learned in my experience
   10      that the ordering and distribution of drugs
   11      is not static.         It's heavily patterned,
   12      especially the more the customers, the more
   13      the established pattern, sizes and frequency.
   14      But new drugs could be introduced.
   15                         There's a lot of reasons why it
   16      could change.         And that's not a bad thing,
   17      but those are the things that would trigger
   18      your system to stop an order and then you to
   19      evaluate it to make sure that -- not you
   20      personally, but so that it's evaluated, and
   21      then there's no chance of diversion.
   22               Q.        So while that investigation is
   23      going on, you're saying that those drugs
   24      should not be shipped to a place where let's
   25      say there's a new -- a new long-term facility

  Golkow Litigation Services                                              Page 67
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further10Confidentiality
                                                       of 144. PageID #: 83259
                                                                           Review

     1                        Do you agree with that
     2      statement that Mr. Rannazzisi made?
     3                        MR. FULLER:       Form, outside of
     4              his scope.
     5              A.        Can you read it one more time
     6      for me?
     7      BY MR. NICHOLAS:
     8              Q.        Yes.
     9                        DEA recognizes that the
    10      overwhelming majority of registered
    11      distributors act lawfully and take
    12      appropriate measures to prevent diversion.
    13              A.        Well, based on my work on this
    14      matter and my review of records and systems,
    15      which I didn't have any previous knowledge of
    16      previous to when I did that, I would probably
    17      disagree with that statement by
    18      Mr. Rannazzisi, in looking at the historic
    19      failures by the companies to be in compliance
    20      with the suspicious order situation -- or
    21      regulation and just a general broad
    22      maintenance of effective controls to prevent
    23      diversion.
    24                        MR. NICHOLAS:        It's been --
    25              well, let's take a short break.                We'll

   Golkow Litigation Services                                          Page 123
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further11Confidentiality
                                                       of 144. PageID #: 83260
                                                                           Review

     1              go another 45 minutes after that and
     2              have lunch, if that's okay.
     3                        THE VIDEOGRAPHER:          Going off
     4              the record, 11:34 a.m.
     5                        (Recess taken, 11:34 a.m. to
     6              11:45 a.m.)
     7                        THE VIDEOGRAPHER:          We're back
     8              on the record at 11:45 a.m.
     9      BY MR. NICHOLAS:
    10              Q.        The DEA requires the retention
    11      of records to be for at least two years; is
    12      that correct?
    13                        MR. FULLER:       Form.
    14      BY MR. NICHOLAS:
    15              Q.        By policy?
    16              A.        Well, by regulation --
    17              Q.        By regulation.
    18              A.        -- the requirement is -- and
    19      that two-year applies to required records.
    20      So within the CFR, there are certain records,
    21      examples would be biannual inventories, order
    22      forms.     Any of the records that are in the
    23      records section of the CFR have a two-year
    24      retention.
    25                        And there's a carve-out that if

   Golkow Litigation Services                                          Page 124
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further12Confidentiality
                                                       of 144. PageID #: 83261
                                                                           Review

     1      a state has a longer retention period, that
     2      the registrant could be subjected to that,
     3      but that two years only applies to those
     4      certain records that are cited in the CFR.
     5              Q.        So -- but the carveout that
     6      you're talking about doesn't apply to
     7      suspicious order reports, right?                That's
     8      within the two -- that's subject to the
     9      two-year regulation?
    10                        MR. FULLER:       Form.
    11              A.        No.    The suspicious order
    12      reports aren't part of the two-year
    13      retention.
    14      BY MR. NICHOLAS:
    15              Q.        They don't have to be retained
    16      at all?
    17              A.        Well, under my opinion, it
    18      would be they would be retained forever.
    19              Q.        Right, but, I mean, the
    20      regulation doesn't require -- I understand
    21      that might be your opinion, but is there any
    22      regulation that says they have to be retained
    23      for any length of time?
    24              A.        I would say the maintenance of
    25      effective controls to prevent diversion would

   Golkow Litigation Services                                          Page 125
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further13Confidentiality
                                                       of 144. PageID #: 83262
                                                                           Review

     1      be applicable to say that they should retain
     2      the suspicious order reports or any due
     3      diligence related to them.
     4              Q.        There are specific sections --
     5      there are specific regulations that address
     6      records retention, correct?
     7              A.        Yes, sir.
     8              Q.        And those --
     9                        MR. FULLER:       Form.
    10      BY MR. NICHOLAS:
    11              Q.        -- regulations identify the
    12      categories of records that have to be kept
    13      and for how long, correct?
    14                        MR. FULLER:       Form.
    15              A.        The CFR does address that, but
    16      those are the required records.               For example,
    17      there are some records that registrants keep
    18      in the course of their business that aren't a
    19      required record.         So just so we're on the
    20      same understanding as to -- the two-year
    21      retention is only under those required
    22      records; dispensing records for a dispensing
    23      doctor, two-year retention; biannual
    24      inventories, order forms, those are all part
    25      of the required records.

   Golkow Litigation Services                                          Page 126
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further14Confidentiality
                                                       of 144. PageID #: 83263
                                                                           Review

     1      BY MR. NICHOLAS:
     2              Q.        So the things we're talking
     3      about now, suspicious order reports or due
     4      diligence documents, are not part of the
     5      kinds of records that are required to be
     6      retained under the CFR and the regulations?
     7              A.        Well --
     8              Q.        That's a yes or a no.
     9                        MR. FULLER:       Object to form.
    10              He's already testified they were.
    11                        MR. NICHOLAS:        That's not what
    12              he said.
    13                        Go ahead.
    14                        THE WITNESS:        So could you
    15              restate the question?            I'm sorry.
    16      BY MR. NICHOLAS:
    17              Q.        Does the CFR or its regulations
    18      require in writing and as identified
    19      suspicious order reports?
    20                        MR. FULLER:       Form.
    21                        MR. NICHOLAS:        I'll ask it
    22              again.     It was a crappy question.
    23      BY MR. NICHOLAS:
    24              Q.        Does the CFR identify
    25      suspicious order reports as among the

   Golkow Litigation Services                                          Page 127
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further15Confidentiality
                                                       of 144. PageID #: 83264
                                                                           Review

     1      documents that have to be retained for at
     2      least two years?
     3              A.        I would say yes, under the
     4      maintenance of effective controls, but I
     5      think there's not a lot of clarity on whether
     6      that is essentially a required record.
     7              Q.        Does the CFR identify due
     8      diligence documents as documents that are
     9      required to be retained for at least two
    10      years?
    11              A.        I'm going to respond the same:
    12      Under maintenance of effective controls, I
    13      think that requirement requires the retention
    14      of due diligence records.             The CFR doesn't
    15      speak specifically to a due diligence record,
    16      but that would be a record that would be
    17      maintained within the requirement of that
    18      regulation.
    19              Q.        For at least two years?
    20              A.        Again, my opinion, they should
    21      be kept permanently.
    22              Q.        No, I'm not asking about your
    23      opinion.      I'm asking under -- what the
    24      requirement is under the law as you
    25      understand it.

   Golkow Litigation Services                                          Page 128
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further16Confidentiality
                                                       of 144. PageID #: 83265
                                                                           Review

     1              A.        Under the regulation as I
     2      understand it --
     3              Q.        Yeah.
     4              A.        -- it doesn't speak
     5      specifically to due diligence records.                  So
     6      I -- a two-year retention -- if a registrant
     7      was to review the CFR, there's no mention of
     8      a due diligence record, so I would say it's
     9      not two years.
    10                        But again, I'd just restate
    11      that I would see no reason why they wouldn't
    12      retain them indefinitely.
    13              Q.        Okay.     I just want to go back
    14      for one second to when you said several times
    15      that -- you talked about your understanding
    16      about how the DEA -- or your belief that the
    17      DEA does not -- has never given approvals of
    18      suspicious order monitoring systems, and you
    19      said that the manual said you're not supposed
    20      to and all that.
    21                        When did you start at the DEA?
    22              A.        2004.
    23              Q.        Okay.     When you refer to the
    24      manuals, to the Diversion Control Manual, you
    25      were referring to a manual that you read in

   Golkow Litigation Services                                            Page 129
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further17Confidentiality
                                                       of 144. PageID #: 83266
                                                                           Review

     1      communication on page 32 of my report.
     2      BY MR. NICHOLAS:
     3              Q.        Okay.     Hold up.      Yeah.
     4                        I just want to know -- I mean,
     5      all I really wanted to know is did you put in
     6      your report that Mr. Gitchel said in 1984
     7      that the DEA doesn't approve --
     8              A.        No, I think I may have
     9      misspoke.      I think it was in regards to
    10      stopping shipments of --
    11              Q.        Okay.
    12              A.        -- orders.
    13              Q.        Okay.     All right.       That's fine.
    14              A.        That's why I wanted to review
    15      my report, to make sure.
    16              Q.        This was an instance where you
    17      reviewed your report and found something --
    18      and found something that I agree -- supported
    19      my point, so that's good.             I should let you
    20      review your report more often.
    21              A.        Yeah, you tried to stop me.
    22      But I just want to be factually correct.
    23      It's an important subject.
    24              Q.        I appreciate it.
    25              A.        And I had a recollection that

   Golkow Litigation Services                                          Page 132
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further18Confidentiality
                                                       of 144. PageID #: 83267
                                                                           Review

     1      that was discussed, but it was about stopping
     2      an order, so...
     3              Q.        All right.       So since we are
     4      talking about sort of what -- since you just
     5      sort of brought up the shipping requirement.
     6              A.        Yes, sir.
     7              Q.        First of all, just so the -- so
     8      we've got it on the record, what do you
     9      understand -- it's a weird word, because it's
    10      a shipping requirement, but it really -- it's
    11      a reference to not shipping.
    12                        So can you just explain what
    13      the shipping requirement is to your
    14      understanding?
    15              A.        Well, first, I've never --
    16      there's never really been a formal term.                   A
    17      shipping requirement, I don't know if that's
    18      an industry term or just somehow got created,
    19      but it never was referred to as just a
    20      shipping requirement.
    21                        I mean, it's -- it's the mere
    22      fact that when a company uses a suspicious
    23      order system and identifies a suspicious
    24      order, they don't ship that order until they
    25      dispel the suspicion about it and whether or

   Golkow Litigation Services                                          Page 133
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further19Confidentiality
                                                       of 144. PageID #: 83268
                                                                           Review

     1      not it's going to be diverted to ensure that
     2      gets properly distributed.
     3              Q.        Okay.     So let me ask a couple
     4      of basic questions here.
     5                        Does the CFR or the regulations
     6      related to the CFR on this subject say
     7      anywhere that there is a requirement that
     8      distributors not ship suspicious orders?
     9              A.        I think they give guidance to
    10      distributors under the maintenance of
    11      effective controls.          Only saying that because
    12      if a distributor discovers a suspicious
    13      order, to ship it without dispelling the
    14      suspicion, that kind of violates the
    15      maintenance of effective controls.
    16                        So I don't want to say it's
    17      just a commonsense interpretation, but to
    18      identify something suspicious that is
    19      suspicious of diversion and then just
    20      shipping it without stopping it and
    21      dispelling it, that's at the core of that
    22      regulation.
    23              Q.        Does the --
    24              A.        And the law.
    25              Q.        Does the regulation say

   Golkow Litigation Services                                          Page 134
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further20Confidentiality
                                                       of 144. PageID #: 83269
                                                                           Review

     1      anything about ship -- does the regulation in
     2      words, words, say anything about shipping?
     3              A.        No, in words, the regulation
     4      does -- and just the --
     5              Q.        It does or does not?
     6              A.        It does not say the word
     7      "shipping."
     8              Q.        Okay.
     9              A.        But again, I go back to the
    10      maintenance of effective controls, and
    11      secondly, it's been since the day I started
    12      at DEA, that's been the interpretation of the
    13      DEA, and I think there's been several
    14      communications, Mr. Rannazzisi's letters.
    15              Q.        Okay.
    16              A.        All the way back -- now I can
    17      go back to Mr. Gitchel's letter in 1984,
    18      about stopping an order because that was the
    19      topic that I discussed -- that I confused on
    20      your earlier question.
    21              Q.        Do you -- is it your testimony
    22      that the decision as to whether to ship or
    23      not to ship an order that's been reported to
    24      the DEA is left to the discretion of the
    25      distributor?

   Golkow Litigation Services                                          Page 135
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further21Confidentiality
                                                       of 144. PageID #: 83270
                                                                           Review

     1              A.        So I think the discretion on
     2      whether to ship or not ship is solely the
     3      decision of the distributor.              The DEA doesn't
     4      inform a distributor if or when to ship an
     5      order or not to ship an order.               So the answer
     6      to that would be yes.
     7              Q.        And if a distributor asks the
     8      DEA -- if the distributor came to the DEA and
     9      said, we've got this order, we have questions
    10      about it, should we ship it or not ship it,
    11      the DEA won't answer that question?
    12              A.        So I'm not sure that I'm
    13      comfortable speaking for the entire DEA, but
    14      how I'd like respond to that is through my
    15      experience and what has occurred in the past.
    16                        So there may be a time when you
    17      receive a call from a registrant that may ask
    18      a question like that or a similar question,
    19      so generally, you can -- first, I would
    20      always state there's two -- two situations,
    21      and we're just going to talk about suspicious
    22      orders -- or, I mean, about distributions.
    23                        And first, I'll always state
    24      that I can't tell a distributor when to ship
    25      or not to ship, but I may ask a lot of

   Golkow Litigation Services                                          Page 136
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further22Confidentiality
                                                       of 144. PageID #: 83271
                                                                           Review

     1              Q.        Okay.     And so when you refer to
     2      flagged orders, you've got -- you know, your
     3      top column, it's a grid.
     4              A.        Yep.
     5              Q.        And from left to right, across
     6      the top, first it's the name of the
     7      distributor.       Then it says:         Flagged orders
     8      of oxycodone (dosage units).              Then it says:
     9      Flagged orders of hydrocodone (dosage units).
 REDACTED




   Golkow Litigation Services                                          Page 165
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further23Confidentiality
                                                       of 144. PageID #: 83272
                                                                           Review

 REDACTED




     7              Q.        So are you saying -- well, what
     8      are you saying when you express this?                  I
     9      shouldn't say.
    10                        I mean, you're showing it.
    11      What does it mean?
    12              A.        So the methodologies applied to
    13      the distribution, once the suspicious order
    14      is identified, the criteria I used is if
    15      there was no due diligence to dispel the
    16      suspicious order or it wasn't reported, then
    17      every subsequent distribution would be a
    18      suspicious order.
    19              Q.        Let me -- I hate this
    20      expression, but I'm going to have to unpack
    21      that.
    22                        So the criteria you used -- you
    23      say once the suspicious order is identified?
    24              A.        By the company -- or by the
    25      methodology, I'm sorry.

   Golkow Litigation Services                                          Page 166
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further24Confidentiality
                                                       of 144. PageID #: 83273
                                                                           Review

     1              Q.        I mean, that's my first source
     2      of confusion is, are these suspicious orders
     3      or are these what you are suggesting should
     4      have been suspicious orders, that you're
     5      basing this on?
     6              A.        Well, it's not suspicious --
     7                        MR. FULLER:       Objection to form.
     8              A.        It's not suspicious orders.
     9      It's dosage amounts that resulted from
    10      suspicious orders.          So the methodology -- my
    11      understanding of what Mr. McCann did -- and I
    12      don't want to speak for him.
    13      BY MR. NICHOLAS:
    14              Q.        Okay.
    15              A.        -- is he looks at the
    16      distribution, the ARCOS data for the
    17      distribution for AmerisourceBergen drug
    18      company, he applies the methodology, and if
    19      there are no suspicious orders, it just runs
    20      along the distribution.
    21                        At some point, if there's a
    22      month that exceeds the greatest month in the
    23      previous six-month, that stops and it's a
    24      suspicious order.         So at that point, if there
    25      was a due diligence to dispel that suspicious

   Golkow Litigation Services                                          Page 167
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further25Confidentiality
                                                       of 144. PageID #: 83274
                                                                           Review

     1      order, if I could find that in my
     2      investigation, then it would continue on.
     3                        If there was no due diligence
     4      and, as my report details, there wasn't
     5      during the early time periods -- during most
     6      of the time period there was no due diligence
     7      to dispel suspicious orders, so every
     8      subsequent order would become a suspicious
     9      order.
    10              Q.        On what basis are you saying
    11      that there was no due diligence done to --
    12      with regard to flagged orders?               What is your
    13      basis for saying that?
    14              A.        There were review of records
    15      submitted on discovery.
    16              Q.        Records for --
    17              A.        Now, let me -- can I correct
    18      this?
    19              Q.        Yeah.
    20              A.        I don't want to say none
    21      whatsoever.       I believe that probably there
    22      may have been some individual instances of
    23      due diligence, but in a general statement, at
    24      a systematic level, there was insufficient
    25      due diligence.        Or none.

   Golkow Litigation Services                                          Page 168
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further26Confidentiality
                                                       of 144. PageID #: 83275
                                                                           Review

     1              Q.        And what is your basis for that
     2      statement?
     3              A.        Reviewing records.
     4              Q.        Reviewing records provided to
     5      you by the plaintiffs?
     6              A.        By the drug companies under
     7      discovery.
     8              Q.        You only had access to the
     9      records that the drug companies supplied in
    10      discovery to the extent they were sent to you
    11      by the plaintiffs' lawyers that were
    12      retaining you, correct?
    13                        MR. FULLER:       Object to form.
    14              A.        I'm not sure how to answer that
    15      because I guess I hope I got all the records.
    16                        Now, I'm not indicating that I
    17      looked at every one, but I looked at enough
    18      to draw a conclusion or an opinion that there
    19      was insufficient due diligence.
    20      BY MR. NICHOLAS:
    21              Q.        Well, if you weren't sent
    22      records that are -- that exist, how do you
    23      know how many of the -- how many -- how do
    24      you know whether you looked at a few, some,
    25      most or all of the records?              How do you know?

   Golkow Litigation Services                                          Page 169
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further27Confidentiality
                                                       of 144. PageID #: 83276
                                                                           Review

     1              A.        I think that's kind of a
     2      hypothetical question.
     3              Q.        No, it's not hypothetical.              You
     4      told me that -- you told me that you obtained
     5      records from plaintiffs' counsel, correct?
     6              A.        And it's my belief that I had
     7      access to all the records.             Now, there's no
     8      way that I would know if that occurred or
     9      not.    That's -- I'm hopeful, as their expert
    10      opinion, that I had access to all of the
    11      records.
    12                        I can't affirmatively say that
    13      they gave me every record.             I -- that's why
    14      it's kind of a hypothetical.
    15              Q.        Well, right now it is a
    16      hypothetical because we really have no idea
    17      what records you were provided, what records
    18      you were provided and what you weren't
    19      because I think you told us that you didn't
    20      write down all the records that were provided
    21      to you.
    22              A.        Well, I would say that in
    23      regards to this matter, I reviewed sufficient
    24      due diligence records to draw -- to make my
    25      opinion.

   Golkow Litigation Services                                          Page 170
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further28Confidentiality
                                                       of 144. PageID #: 83277
                                                                           Review

     1              Q.        Now, sticking with that for a
     2      minute, just because you did not review due
     3      diligence records from 2010, 2011, 2012 --
     4      let's assume you didn't see due diligence
     5      records or as many as you would have liked.
     6      That doesn't mean that the due diligence
     7      wasn't done, does it?
     8              A.        Well, as far as the DEA is
     9      concerned, if there's no documentation or
    10      record of it, a due diligence file, my
    11      opinion would be based on that that doesn't
    12      exist.
    13              Q.        Well, we've already discussed
    14      the fact that there was no requirement in the
    15      regulations as to the retention of due
    16      diligence records --
    17                        MR. FULLER:       Object to form.
    18      BY MR. NICHOLAS:
    19              Q.        -- for any period of time,
    20      right?
    21                        MR. FULLER:       Object to form.
    22              That's not the witness's testimony.
    23              A.        So I don't think that's exactly
    24      what my statement was.            I think my statement
    25      was is that it wasn't contained as a required

   Golkow Litigation Services                                          Page 171
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further29Confidentiality
                                                       of 144. PageID #: 83278
                                                                           Review

     1      record in the recordkeeping section of the
     2      CFR.
     3      BY MR. NICHOLAS:
     4              Q.        Yeah.
     5              A.        But it was of my opinion that
     6      it's covered under the maintenance of
     7      effective controls, and it would be my
     8      opinion as -- with my experience and my
     9      training and my knowledge, is that it should
    10      be kept forever.         It's a historical record,
    11      and it should be kept by the registrant much
    12      greater than two years.
    13              Q.        Now, you keep saying that the
    14      requirement to maintain records is contained
    15      in the section pertaining to maintenance of
    16      effective controls, but just so the record is
    17      clear, there's nothing in the section on the
    18      maintenance of effective controls that makes
    19      any reference to records, correct?
    20              A.        Well, I --
    21                        MR. FULLER:       Form.
    22              A.        I think within the statements,
    23      that's what that statement means.
    24      BY MR. NICHOLAS:
    25              Q.        Means.     But I'm asking whether

   Golkow Litigation Services                                          Page 172
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further30Confidentiality
                                                       of 144. PageID #: 83279
                                                                           Review

     1      you go right down each company, all right.
     2      You've got one, two, three, four, five
     3      companies, and in the case of each one,
     4      you've got a parenthetical that says that
     5      somewhere between -- that identifies
     6      somewhere between 86.5% and 95.3% of total
     7      dosage units, okay?
     8              A.        Yes, sir.
     9              Q.        All right.       And that means
    10      what?     Is that the number of dosage units
    11      that in your opinion should not have been
    12      shipped?
    13              A.        Well, in my report, if we -- I
    14      actually make a statement in regards to that
    15      on page 46.
    16              Q.        Okay.
    17              A.        So it starts after the
    18      footnote 151:        However, it is my opinion to a
    19      reasonable degree of professional certainty
    20      that applying the tests set forth in the
    21      Masters Inc. and Drug Enforcement
    22      Administration provides a reasonable estimate
    23      and initial trigger on a first step to
    24      identifying orders of unusual size.
    25              Q.        So are you saying that --

   Golkow Litigation Services                                          Page 177
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further31Confidentiality
                                                       of 144. PageID #: 83280
                                                                           Review

     1              A.        Well --
     2              Q.        -- this is the number of --
     3                        MR. FULLER:       Well, go ahead and
     4              finish your answer.
     5                        MR. NICHOLAS:        Okay.     I thought
     6              you were done.         Sorry.
     7              A.        So -- and I can read the rest
     8      of the paragraph.
     9      BY MR. NICHOLAS:
    10              Q.        Don't read.       I'd rather you
    11      just tell me just in words, in your words,
    12      what -- you know, what is it you're trying to
    13      convey here?
 REDACTED




   Golkow Litigation Services                                          Page 178
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further32Confidentiality
                                                       of 144. PageID #: 83281
                                                                           Review

REDACTED




     5                        Now, that --
     6              Q.        Okay.     All right.       So my
     7      question is -- all right.             So let me try
     8      this.
     9                        Are you suggesting in your
    10      report that more orders should have been
    11      reported as suspicious?
    12              A.        Well, I don't think it suggests
    13      that.     I'll restate it again.
    14                        So when the system triggers a
    15      suspicious order, it doesn't reset to the
    16      next order to be a suspicious order.                 So how
    17      I interpret the regulations and how my
    18      training is and how the Masters ruling and
    19      some of the documents I've read in regards
    20      from McKesson and Cardinal and Prevoznik's
    21      deposition testimony, is that once a
    22      suspicious order is identified by registrant,
    23      it should be stopped and there should be a
    24      due diligence to dispel whether or not that
    25      suspicious order is in fact suspicious.

   Golkow Litigation Services                                          Page 179
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further33Confidentiality
                                                       of 144. PageID #: 83282
                                                                           Review

     1                        If the registrant takes no
     2      action and just continues to ship subsequent
     3      orders in that order, then they're all
     4      suspicious orders.
     5                        Now, my last paragraph kind of
     6      sums up that this is how I applied this, and,
     7      you know, it's in regards to how the court
     8      would or would not accept it and there would
     9      be other methodologies.            So that's how I
    10      interpret it.
    11              Q.        You know, on this subject I
    12      think -- well, are you able to tell us -- are
    13      you able to -- well, let's see.
    14                        Let's say an order is
    15      identified by a distributor as suspicious,
    16      okay?
    17              A.        Yes, sir.
    18              Q.        And it's reported to the DEA as
    19      suspicious.
    20              A.        Yes, sir.
    21              Q.        Okay.     You agree that that
    22      doesn't necessarily mean that that order --
    23      that the pills associated with that order are
    24      going to be diverted, right?
    25              A.        No, I think that's exactly what

   Golkow Litigation Services                                          Page 180
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further34Confidentiality
                                                       of 144. PageID #: 83283
                                                                           Review

     1      it means.
     2              Q.        You think every time that an
     3      order is reported as suspicious that those
     4      pills turn out to be diverted?
     5              A.        I don't know that I could draw
     6      that conclusion, but I --
     7              Q.        That's the conclusion I'm
     8      asking you about.
     9              A.        Well, I wouldn't draw that
    10      conclusion.       The only conclusion I would draw
    11      is that if a registrant is adhering to the
    12      law and the regulations and has a suspicious
    13      order system in place and their system
    14      identifies that, I would hope that they
    15      believe that they're reporting to the DEA
    16      what they believe to be a suspicious order.
    17              Q.        I'm asking you a completely
    18      different question, okay?
    19                        My question to you is:            When an
    20      order was reported as suspicious -- strike
    21      that.     Strike that, because I -- I asked a
    22      confusing question.
    23                        I think what you're saying is
    24      that there are -- but tell me if I'm wrong --
    25      is that more orders should have been reported

   Golkow Litigation Services                                          Page 181
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further35Confidentiality
                                                       of 144. PageID #: 83284
                                                                           Review

     1      as suspicious than were reported; is that
     2      right?
     3              A.        No.
     4              Q.        Okay.     So you think that the
     5      appropriate number of orders --
     6              A.        I --
     7              Q.        -- into Track 1 and Track 2
     8      jurisdictions that were reported as
     9      suspicious was indeed appropriate, that the
    10      right number was reported?
    11              A.        This methodology doesn't look
    12      at it that way because there was no due
    13      diligence so --
    14              Q.        Hold on.      Let me stop you
    15      there.
    16                        MR. FULLER:       Well, object --
    17                        MR. NICHOLAS:        Go ahead.       No,
    18              I'm sorry.       You're right.        You're
    19              right.     Go ahead.
    20              A.        Because there was no due
    21      diligence.       So the methodology is not applied
    22      to identify future orders that are
    23      suspicious, because when you don't dispel the
    24      suspicion or the potential that it's going to
    25      be diverted and you can clear it to say that

   Golkow Litigation Services                                            Page 182
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further36Confidentiality
                                                       of 144. PageID #: 83285
                                                                           Review

     1      it's not going to be diverted, then every
     2      subsequent order, in my -- in the way I've
     3      applied this, would be a suspicious order
     4      based on the policies and the guidance and my
     5      experience with the DEA.
     6      BY MR. NICHOLAS:
     7              Q.        So your entire analysis here
     8      rests on the premise that no due diligence
     9      was done on the orders that you're reporting
    10      on here; is that right?
    11                        MR. FULLER:       Object to form,
    12              misstates his prior testimony.
    13              A.        No -- either no or insufficient
    14      due diligence.
    15      BY MR. NICHOLAS:
 REDACTED




   Golkow Litigation Services                                          Page 183
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further37Confidentiality
                                                       of 144. PageID #: 83286
                                                                           Review

REDACTED




     5                        So it's -- you know, the
     6      critical thing I think that we -- that, you
     7      know, that we are having trouble
     8      communicating --
     9              Q.        We're definitely not
    10      communicating right now and I'm sure I'm
    11      not understanding this.
    12              A.        -- back and forth is the
    13      concept that when you don't do due diligence,
    14      that that makes every subsequent order a
    15      suspicious order.
    16                        Now --
    17              Q.        That's what you're saying?
    18              A.        Yes, if there is insufficient
    19      or there's incomplete or there's no due
    20      diligence.
    21                        Now, that's a methodology
    22      that's, I think, up to the court whether or
    23      not to accept, but that's -- so it's just as
    24      long as you understand clearly on how I had
    25      this methodology applied.

   Golkow Litigation Services                                          Page 184
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further38Confidentiality
                                                       of 144. PageID #: 83287
                                                                           Review

     1              Q.        So again, your methodology
     2      rests on your --
     3              A.        Opinion.
     4              Q.        -- conclusion or opinion that
     5      either no due diligence was applied or
     6      insufficient due diligence was applied -- you
     7      know, was utilized by any of these companies,
     8      and that results in these large numbers of
     9      dosage units and these percentages; is that
    10      right?
    11              A.        Yes, sir.       My -- I'd like to
    12      add to that as my final -- the final in
    13      the -- on again, on 46, and this will maybe
    14      be a clarification of what I said earlier,
    15      the last sentence of the first paragraph:                   I
    16      say this understanding that the litigation
    17      will be advanced by selecting a methodology
    18      qualifying a volume of pills that entered the
    19      CT1 jurisdictions unlawfully and providing
    20      this data to an economist to measure harm
    21      caused by this volume.
    22              Q.        Yeah.     You say in the -- the
    23      first sentence of that paragraph says:                  I've
    24      been asked to identify the number of opioid
    25      pills that entered Cuyahoga and Summit

   Golkow Litigation Services                                          Page 185
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further39Confidentiality
                                                       of 144. PageID #: 83288
                                                                           Review

     1              A.        That's not what I respond --
     2      how I answered the question just a couple of
     3      questions ago.
     4                        So there could have been at
     5      some point for each of these companies where
     6      they designed or developed a system where
     7      they met the regulatory and the legal
     8      requirements.        They had due diligence.            They
     9      had an effective system, and they began to
    10      identify suspicious orders, and they -- they
    11      did a -- more than a cursory approval and
    12      they did due diligence.            So that would stop
    13      the count.
    14                        And then the methodology would
    15      be applied again, and every one that was
    16      identified, if there was effective due
    17      diligence, it wouldn't be counted as a
    18      distribution to the CT1.
    19              Q.        Did you stop the count at any
    20      point in this analysis?
    21              A.        No, sir.
    22              Q.        And that's because you assumed
    23      that there was no due diligence done at any
    24      point from 1996 to your end date here --
    25                        MR. FULLER:       Object --

   Golkow Litigation Services                                          Page 187
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further40Confidentiality
                                                       of 144. PageID #: 83289
                                                                           Review

     1      BY MR. NICHOLAS:
     2              Q.        -- at least for the purposes of
     3      your numbers?
     4                        MR. FULLER:       Object to form.
     5              A.        It's not an assumption.            It's
     6      based on my review of records and depositions
     7      and documents that I couldn't find a time
     8      period where I believed there was sufficient
     9      due diligence -- well, there was actually a
    10      complete failure.
    11                        There was the failure to stop
    12      suspicious orders, there was ineffective
    13      suspicious order systems, but in regards to
    14      what caused these large numbers, it was the
    15      failure to have the maintenance of effective
    16      controls to prevent diversion, which is the
    17      act of the due diligence, the reviewing those
    18      orders to approve them as was detailed in the
    19      Masters opinion.
    20      BY MR. NICHOLAS:
    21              Q.        Okay.     Now, see if we can agree
    22      on one thing here, which is this:                There
    23      could be an order of unusual size or
    24      frequency or pattern that is shipped.
    25      Whether it should have been or shouldn't have

   Golkow Litigation Services                                           Page 188
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further41Confidentiality
                                                       of 144. PageID #: 83290
                                                                           Review

     1      been, we can put aside for another day.
     2      Okay?     Let's just say that there's an order
     3      of unusual size, frequency, pattern, that, in
     4      fact, was shipped and it -- you can even
     5      say -- and let's say it should have been
     6      reported as a suspicious order, but it
     7      shipped.      All right?
     8                        Do you agree that even though
     9      that order was shipped and even though you
    10      say it shouldn't have been shipped, it
    11      doesn't necessarily mean that the pills that
    12      underlie that order are going to be diverted.
    13      You don't know.
    14                        MR. FULLER:       Object to form.
    15      BY MR. NICHOLAS:
    16              Q.        Correct?
    17              A.        So I'll answer that question by
    18      saying that if it's identified as suspicious
    19      order by unusual size or unusual frequency or
    20      deviating form -- you know, substantial
    21      deviation from a pattern, so to me that puts
    22      it as a probable, greater than 51% that it's
    23      going to be diverted because it's been
    24      identified.
    25                        So I can't draw the conclusion

   Golkow Litigation Services                                          Page 189
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further42Confidentiality
                                                       of 144. PageID #: 83291
                                                                           Review

     1      that I don't know that it's going to be
     2      diverted.      I probably can't draw a definitive
     3      statement that it is, but I'm going to say
     4      that it's more probable because the system
     5      identified it.
     6              Q.        So you got it at 51% above,
     7      it's going to be diverted; is that what
     8      you're telling me?
     9              A.        Well, that's the definition of
    10      probable.      If it's an effective suspicious
    11      order system, I believe the percents would
    12      rise much higher than that, but I guess that
    13      depends on the effectiveness of the
    14      suspicious order system.
    15              Q.        Where are you getting that
    16      percent from?        Where are you getting that
    17      from, just your own --
    18              A.        What?
    19              Q.        The 51, the probable, where are
    20      you getting that it's probable?
    21              A.        That's my belief of what
    22      probable means.
    23              Q.        Okay.     Other than your belief,
    24      is it written down anywhere?              Is there any
    25      research on that?         Is there any data on that?

   Golkow Litigation Services                                          Page 190
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further43Confidentiality
                                                       of 144. PageID #: 83292
                                                                           Review

     1      Is this just -- just your belief?
     2              A.        Not that I can cite.
     3              Q.        Okay.
     4                        MR. FULLER:       Vegas odds.
     5                        MR. NICHOLAS:        Okay.
     6      BY MR. NICHOLAS:
     7              Q.        Did you look at any individual
     8      orders from any pharmacies in the Cuyahoga or
     9      Summit Counties?
    10              A.        I looked at some DEA 222 forms,
    11      but I believe my recollection, it was out of
    12      maybe the Boston area, so I would say no.
    13              Q.        Okay.
    14              A.        No original records.           I
    15      reviewed no original records.
    16              Q.        You reviewed data that was in
    17      the aggregate, right, totals?              Correct?
    18              A.        No.    I reviewed -- so just so
    19      we're clear on, you know, what we're talking
    20      about, so there's no confusion.
    21              Q.        Uh-huh.
    22              A.        So to me, in the DEA world, an
    23      original record is the actual DEA order form,
    24      the invoice or a CSOS electronic order form.
    25      So that's what I would consider an original

   Golkow Litigation Services                                          Page 191
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further44Confidentiality
                                                       of 144. PageID #: 83293
                                                                           Review

     1      record.      Also provided to me, there's the
     2      ARCOS data, which is not an original record,
     3      and there were some electronic databases that
     4      appeared to me to be an electronic
     5      spreadsheet or an electronic format of orders
     6      that distributors or registrants had
     7      submitted as part of the discovery.                 But none
     8      of those would be what I would consider an
     9      original record.
    10              Q.        Can you identify a particular
    11      order from a particular pharmacy that you
    12      believe should have been reported as
    13      suspicious?
    14              A.        Well, in my assignment to
    15      create this and do the investigation to come
    16      to this opinion, there wasn't a requirement
    17      for me to actually find specific orders that
    18      were suspicious.
    19                        First of all, it would require
    20      the use of the suspicious order system of the
    21      registrant, like what would be the criteria.
    22      The -- and the thing I found in doing my
    23      opinion is that probably the most critical
    24      part of setting up a suspicious order system
    25      is the due diligence or sometimes in the

   Golkow Litigation Services                                          Page 192
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further45Confidentiality
                                                       of 144. PageID #: 83294
                                                                           Review

     1      industry they call it the onboarding, and
     2      that's to establish what the criteria is.                   I
     3      said earlier what the usual is.
     4                        And I found it difficult
     5      because I didn't really find an adequate
     6      effort to set up what actually would be a
     7      usual or what would be an expected order.                   So
     8      for me to go in and try to make that kind of
     9      analysis wouldn't be possible.
    10              Q.        So sitting here today, you
    11      can't identify a particular order from a
    12      particular pharmacy that should have been
    13      reported as suspicious that wasn't; is that
    14      correct?
    15                        MR. FULLER:       Form.
    16              A.        I don't know because I didn't
    17      task myself to do that.
    18      BY MR. NICHOLAS:
    19              Q.        Sitting here today, can you do
    20      it?    I know you didn't -- I know it wasn't
    21      part of your job description here.                That's
    22      all I want to know is can you do it today?
    23      Is it part of your report?
    24              A.        Well, actually, let me retract.
    25      I think I did that and I think it's on

   Golkow Litigation Services                                          Page 193
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further46Confidentiality
                                                       of 144. PageID #: 83295
                                                                           Review

     1              A.        Well, I guess I'm going to not
     2      answer, not based -- well, based on his
     3      instruction, but it's because whether it's a
     4      fact that's known by -- discoverable by just
     5      the general public, and I -- I don't know, so
     6      that kind of makes me not want to answer that
     7      question because I don't know if a person
     8      could just do some query from the general
     9      public and obtain that answer.
    10              Q.        Well, I can tell you that this
    11      deposition is designated as a confidential
    12      process to which the public does not have
    13      access and will not have access.
    14                        So with that assurance, can you
    15      answer the question now as to whether -- the
    16      simple question of whether the DEA keeps
    17      suspicious order reports on a database?
    18                        MR. FULLER:       No, Counsel, hold
    19              on one second.         The Touhy request has
    20              no bearing on whether this is kept
    21              confidential or not.           Touhy
    22              authorization says he can't testify to
    23              anything that is not publicly known
    24              and that he gained information during
    25              his employment.         Touhy authorization

   Golkow Litigation Services                                          Page 200
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further47Confidentiality
                                                       of 144. PageID #: 83296
                                                                           Review

     1              allows him to testify based on the
     2              facts reviewed and provided in this
     3              case.     So I'm still going to give him
     4              the same instruction.
     5                        I'll be honest with you, I
     6              don't know if it's public knowledge or
     7              not, whether it's in a database or
     8              not.     It may be.
     9                        MR. NICHOLAS:        Okay.
    10      BY MR. NICHOLAS:
    11              Q.        Do you agree with the statement
    12      made by Mr. Rannazzisi in his deposition that
    13      99% of doctors prescribe opioids for
    14      legitimate medical purposes?
    15              A.        I don't really have an opinion
    16      or I really don't agree or disagree.                 I don't
    17      have sufficient knowledge or experience or
    18      reviewed any studies to be able to make a
    19      comment on that.
    20              Q.        And do you agree with the
    21      statement made by Mr. Patterson of the DEA,
    22      formerly of the DEA, testifying in front of
    23      Congress that 99.9% of doctors are trying to
    24      do the right thing?
    25              A.        My answer --

   Golkow Litigation Services                                          Page 201
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further48Confidentiality
                                                       of 144. PageID #: 83297
                                                                           Review

     1                        MR. FULLER:       Form.
     2                        Go ahead.
     3              A.        My answer would be the same.
     4      I -- I don't know the pure math of that
     5      question, but with over 1 million doctors,
     6      99.9%, I'm not sure --
     7      BY MR. NICHOLAS:
     8              Q.        Do you think the vast majority
     9      of doctors are trying to do the right thing?
    10                        MR. FULLER:       Form, scope.
    11                        MR. NICHOLAS:        You can answer.
    12              A.        I would agree with that, that I
    13      have no experience or knowledge that says,
    14      you know, anything otherwise than the vast
    15      majority.      I guess we could maybe dispute
    16      about what vast majority is, but...
    17      BY MR. NICHOLAS:
    18              Q.        When do you believe the opioid
    19      crisis began?
    20              A.        I would probably say the onset
    21      would be the Internet pharmacy activity, the
    22      illicit Internet pharmacy activity, I think
    23      1999, around in that time period.
    24              Q.        Okay.     When did you first
    25      become aware that there was an opioid crisis?

   Golkow Litigation Services                                          Page 202
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further49Confidentiality
                                                       of 144. PageID #: 83298
                                                                           Review

     1      Around that time?
     2              A.        No.    Probably when I started my
     3      employment with the DEA in the academy.
     4              Q.        2004?
     5              A.        Yes, sir.
     6              Q.        Is there a point at which you
     7      believe the opioid crisis became common
     8      knowledge?
     9              A.        Yes.
    10              Q.        When is that?
    11              A.        Well, could I get a
    12      clarification of what you believe is common
    13      knowledge?       Because what's common knowledge
    14      to me is -- would you -- would your
    15      definition of that be just if you were to
    16      stop somebody and say what is an opioid?
    17              Q.        How about known to government
    18      entities, cities, towns, counties, states.
    19                        MR. FULLER:       Form.
    20              A.        Well, I think it's -- I think
    21      it probably coincided with when the Internet
    22      pharmacy illicit conduct got to --
    23      identified.       There was a study that was being
    24      done and it was published and showed the
    25      conduct of these Internet pharmacies and

   Golkow Litigation Services                                          Page 203
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further50Confidentiality
                                                       of 144. PageID #: 83299
                                                                           Review

     1      would consider to be overprescribing?
     2      Because there's a couple of different ways I
     3      think I could interpret that.
     4              Q.        Did doctors prescribe too many
     5      opioid -- well, strike that.              I'll try it
     6      again.
     7              A.        Let me --
     8              Q.        Was there a period of time
     9      when -- or do you believe doctors prescribed
    10      more opioid pills than were medically
    11      necessary for their patients?
    12                        MR. FULLER:       Object to form.
    13              He's not a medical doctor.
    14              A.        Well, my investigation into
    15      some of them that I detailed as at least
    16      bulleted in my report, would say that I would
    17      ask -- answer that affirmatively because I
    18      have some experience with doctors who did
    19      issue illicit or diverted prescriptions.
    20                        So, you know, just in a general
    21      answer would be yes.           Now, I'm not going to
    22      qualify that with how many or what, but
    23      that's one of the essences of how diversion
    24      occurs.
    25                        ///

   Golkow Litigation Services                                          Page 207
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further51Confidentiality
                                                       of 144. PageID #: 83300
                                                                           Review

     1      BY MR. NICHOLAS:
     2              Q.        Are you able to tell -- well,
     3      you wrote on your report on page 46, and we
     4      read this already, that you had been asked to
     5      identify the number of opioid pills that
     6      entered Cuyahoga and Summit Counties
     7      unlawfully, and then you went on to say it's
     8      an impossible task, right?             Page 46, first
     9      full paragraph.
    10              A.        Yes.
    11              Q.        Okay.     Are you able to tell us
    12      the correct number of pills that should have
    13      been shipped into Cuyahoga and Summit
    14      Counties lawfully?
    15              A.        No, sir, I cannot provide that
    16      information -- or did I calculate that
    17      information or --
    18              Q.        Do you have any sense of it at
    19      all?
    20              A.        Well, I'm supportive of my
    21      opinion, and that's the failures by the
    22      registrants during the time period was a
    23      significant contribution to diversion and the
    24      amount of pills.         But to put a calculated
    25      number, I can't do that.            My methodology has

   Golkow Litigation Services                                          Page 208
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further52Confidentiality
                                                       of 144. PageID #: 83301
                                                                           Review

     1      come to some conclusions based on, you know,
     2      the due diligence factors.
     3              Q.        And in some regards, you'd
     4      almost have to be a doctor to know an answer
     5      to a question like that, right?
     6                        MR. FULLER:       Form.
     7              A.        Well, I think that would be one
     8      aspect, to be a doctor.            But then, you know,
     9      there's a lot of other factors that also
    10      would be taken into consideration.
    11      BY MR. NICHOLAS:
    12              Q.        But, I mean, you don't feel
    13      qualified to look at a prescription for a
    14      patient and know whether that prescription is
    15      appropriate or not, correct?
    16              A.        Well --
    17                        MR. FULLER:       Same objection.
    18              A.        I don't want to be
    19      argumentative, but in my experience of doing
    20      some cases, there have been instances where I
    21      could look at a prescription, knowing how it
    22      was written or the procedure that it was
    23      used, and I could say that that was not a
    24      legitimate prescription.
    25                        One example would be in one of

   Golkow Litigation Services                                          Page 209
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further53Confidentiality
                                                       of 144. PageID #: 83302
                                                                           Review

     1      the cases I worked, patients would meet
     2      doctors -- not patients.            People would meet a
     3      doctor in a parking lot, pay a hundred
     4      dollars and get a prescription.               So I don't
     5      know that I would have to be a doctor to be
     6      able to say that wasn't a legitimate
     7      prescription.
     8      BY MR. NICHOLAS:
     9              Q.        Fair enough.        Sounds like
    10      you're a little bit of a doctor, a little bit
    11      of a lawyer and a little bit of a witness.
    12              A.        I just think that that doesn't
    13      take either -- any of those quantifications
    14      to say that there's something wrong with that
    15      prescription.
    16              Q.        Okay.     Just a little more, and
    17      then I'll be done.
    18                        Now, you attended DEA basic
    19      diversion investigator school in 2004; is
    20      that right?
    21              A.        Yes, sir.
    22              Q.        Was that training at Quantico?
    23              A.        Yes, sir, it was -- I don't
    24      want to say custodial training.               It was a --
    25      you actually stayed at the facility, 12-week

   Golkow Litigation Services                                          Page 210
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further54Confidentiality
                                                       of 144. PageID #: 83303
                                                                           Review

     1              Q.        Now, there are some customers,
     2      isn't it true, who are going to consistently
     3      order over these limits because they're large
     4      customers; isn't that right?
     5                        MR. FULLER:       Object to form,
     6              vague.
     7              A.        Well, I guess that is a
     8      possibility.       I didn't see anything that
     9      would not require an employee of Cardinal to
    10      follow this procedure that would exempt any
    11      type of customers or have them fail to take
    12      this appropriate -- or this -- not
    13      appropriate -- take this action as required.
    14      BY MR. PYSER:
    15              Q.        What the policy says is on a
    16      daily basis, cage-involved personnel should
    17      be policing and identifying individual orders
    18      that appear excessive in relation to what
    19      other customers are buying and/or the
    20      customer's purchase history.              In these
    21      situations DEA should be notified if possible
    22      before the order is shipped and a copy of all
    23      such orders should be maintained in the
    24      division's suspicious order file, along with
    25      the regulatory agency contact form noting any

   Golkow Litigation Services                                          Page 269
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further55Confidentiality
                                                       of 144. PageID #: 83304
                                                                           Review

     1      specific instructions from DEA.
     2                        Correct?
     3              A.        Yes, sir.
     4                        MR. FULLER:       And I don't know
     5              what he's reading from, but if you
     6              want to pull the policy to make sure
     7              he's reading it accurately, you're
     8              welcome to do so.          I don't know --
     9                        MR. PYSER:       Counsel, we can
    10              drop the speaking objection.              He's
    11              already answered.
    12                        MR. FULLER:       No, I won't drop
    13              the speaking objections.
    14      BY MR. PYSER:
    15              Q.        So let's take an example, the
    16      Cleveland Clinic.         They're in Cleveland,
    17      Ohio.     It's a large medical facility.
    18                        Would you expect the
    19      Cleveland Clinic to order, when they order
    20      from Cardinal Health, more than 800 capsules
    21      of hydrocodone at a time?
    22              A.        I don't really have an opinion
    23      either way.       It's a possible reasonable
    24      assumption, but without seeing the
    25      distribution datas or the purchasing

   Golkow Litigation Services                                          Page 270
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further56Confidentiality
                                                       of 144. PageID #: 83305
                                                                           Review

     1      requests, I don't know.
     2              Q.        And you haven't looked at that
     3      information.       You haven't gotten to that
     4      level of granularity in your work?
     5                        MR. FULLER:       Form.
     6              A.        I didn't review the Cleveland
     7      Clinic or the ingredient limit reports for
     8      specifically looking for the Cleveland
     9      Clinic.      I focused on the retail or the
    10      pharmacies.
    11      BY MR. PYSER:
    12              Q.        Do you believe that Cardinal
    13      Health should have stopped shipping
    14      hydrocodone and other pain medicine to the
    15      Cleveland Clinic based on the fact that there
    16      were times when the Cleveland Clinic ordered
    17      more than 800 tabs of hydrocodone at a time?
    18              A.        So how I'll answer that is that
    19      this policy was set up by Cardinal and it's
    20      in response to how Cardinal identified the
    21      scope of the businesses they supply.
    22                        So my opinion is based on the
    23      policy that Cardinal set up.              I didn't set up
    24      this policy for them; they did.               So if their
    25      policy requires them to take an act and

   Golkow Litigation Services                                          Page 271
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further57Confidentiality
                                                       of 144. PageID #: 83306
                                                                           Review

     1      they've set the limit up at 800 tablets, then
     2      unless they modify their policy or they have
     3      some exception, I -- this is their policy,
     4      and this is what they're requiring their
     5      employees to do.
     6              Q.        Sir, do you think that it would
     7      be appropriate to deny cancer patients at the
     8      Cleveland Clinic medication based on this
     9      absolute limit?         Yes or no?
    10                        MR. FULLER:       Object to form.
    11                        That wasn't the same question.
    12              A.        Well, I think to answer that
    13      question, if that did occur because they had
    14      a defective suspicious order system, they
    15      should correct that so that doesn't occur.
    16                        But so -- I guess that's a
    17      hypothetical that I don't really want to
    18      comment on, but the main thing that I want to
    19      make sure is that -- on my statement is that
    20      this is Cardinal's policy, and this is what
    21      they're requiring their employees to do.
    22      BY MR. PYSER:
    23              Q.        Sir, where do you get the
    24      opinion that there was no flexibility around
    25      this policy and Cardinal Health had no choice

   Golkow Litigation Services                                          Page 272
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further58Confidentiality
                                                       of 144. PageID #: 83307
                                                                           Review

     1      specifically say it's something they did or
     2      didn't do.       I would just give them in some
     3      matters guidance.         It would be a guidance
     4      that -- because in most regulatory
     5      investigations, I may ask to see some due
     6      diligence on a specific customer, and
     7      sometimes it would come up when I asked for
     8      it that they -- the registrant would tell me
     9      that it's not a required record.
    10                        So the option was this is -- as
    11      part of a work plan or a regulatory
    12      investigation, a registrant wouldn't have to
    13      show me the due diligence.             In that case, I'd
    14      have to subpoena.
    15      BY MR. PYSER:
    16              Q.        You're one diversion
    17      investigator when you were working at DEA,
    18      correct?
    19              A.        Yes.
    20              Q.        Do you know one way or the
    21      other whether the diversion investigators who
    22      visited Cardinal Health's facilities ever
    23      told them about this indefinite record
    24      retention policy that you're putting forward
    25      in your expert report?

   Golkow Litigation Services                                          Page 293
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further59Confidentiality
                                                       of 144. PageID #: 83308
                                                                           Review

     1                        MR. FULLER:       Objection.       And
     2              remind you of your Touhy obligation.
     3              Anything that is internal policy at
     4              DEA or communicated while you were on
     5              the job is outside the scope of what
     6              you're authorized to testify to.
     7              A.        I'm not aware.
     8      BY MR. PYSER:
     9              Q.        So on page 50 of your report,
    10      you have a chart that talks about suspicious
    11      orders reported in the CT1 jurisdictions,
    12      right?
    13              A.        Yes.
    14              Q.        Okay.     And there's two columns,
    15      pre-shipment reporting and then -- on the
    16      left, and on the right, post-shipment
    17      reporting, right?
    18              A.        Right.     Yes, sir.
    19              Q.        Okay.     On the right side, the
    20      post-shipment reporting, it's blank until
    21      2005, correct?
    22              A.        Yes, sir.
    23              Q.        And that's blank there because
    24      you know from testimony that Cardinal Health
    25      was submitting ingredient limit reports to

   Golkow Litigation Services                                          Page 294
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further60Confidentiality
                                                       of 144. PageID #: 83309
                                                                           Review

     1      DEA, but we just no longer have those
     2      records; is that right?
     3              A.        Sir, I believe my report says
     4      that I could not find those -- I could not
     5      find -- those weren't provided to me and I
     6      did not find those reports.
     7              Q.        You also reviewed the testimony
     8      of Steve Reardon we talked about earlier
     9      today, and he said Cardinal Health was
    10      sending ingredient limit reports to the DEA
    11      beginning in the early '90s, correct?
    12              A.        I don't have a recollection of
    13      that exact statement in his deposition.
    14              Q.        Did you have any reason to
    15      believe Mr. Reardon wasn't telling the truth
    16      if that is, in fact, what he said?
    17              A.        No, I don't have any
    18      independent knowledge of not -- whether to
    19      believe him or not to believe him.
    20              Q.        So on page 50 we have blanks
    21      under post-shipment report, where it's
    22      unknown, but you filled in zeros on the left
    23      side for pre-shipment reports all the way
    24      from 1996 to 2012, correct?
    25              A.        Yes.

   Golkow Litigation Services                                          Page 295
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further61Confidentiality
                                                       of 144. PageID #: 83310
                                                                           Review

     1              Q.        We talked earlier about these
     2      agency contact forms for phone calls to DEA?
     3              A.        Yes, sir.
     4              Q.        Is it possible that at some
     5      point from 1996 through 2012 employees from
     6      Cardinal Health may have called DEA before
     7      shipping an order that was destined for
     8      Cuyahoga or Summit County?
     9              A.        If that occurred, I would have
    10      an expectation to see one of the agency
    11      contact forms.
    12              Q.        But knowing that we don't have
    13      any agency contact forms from Wheeling, West
    14      Virginia, is it possible that people spoke on
    15      the phone, but today, from 1996, it's
    16      23 years later, so 23 years later, is it
    17      possible a phone call was made but we don't
    18      have a record of it?
    19                        MR. FULLER:       Objection,
    20              misstates evidence.
    21              A.        So I can only comment on the
    22      facts of which I know and what records exist.
    23      I don't make comments on hypothetical
    24      situations of whether it could have occurred
    25      and there was no documentation or it's lost

   Golkow Litigation Services                                          Page 296
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further62Confidentiality
                                                       of 144. PageID #: 83311
                                                                           Review

     1      diligence, but that wasn't the program, and
     2      it was just one occurrence, then I don't
     3      think it's really faulty.
     4                        I think it requires that the
     5      company acted -- actually had to have some
     6      procedure in place to actually do due
     7      diligence investigations, not just one
     8      instance.
     9              Q.        But in your report you assume
    10      that there was no due diligence and that
    11      Dr. McCann then relied on that assumption,
    12      correct?
    13                        And so my question is very
    14      specific:      If McKesson conducted sufficient
    15      due diligence on that first flagged order
    16      under its LDMP program, its CSMP program, its
    17      Section 55 program, you would agree sitting
    18      here today that the results that we see from
    19      Dr. McCann's analysis, they would be
    20      different?
    21                        MR. FULLER:       Object to form,
    22              misstates the fact.           The witness
    23              didn't make the assumption there was
    24              no due diligence.          He's testified
    25              based on his opinion there's not

   Golkow Litigation Services                                          Page 365
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further63Confidentiality
                                                       of 144. PageID #: 83312
                                                                           Review

     1              adequate due diligence.
     2              A.        That's hypothetical.           I
     3      wouldn't say one -- one due diligence would
     4      reset it if the company's conduct continued
     5      along the same, the same level, so -- and
     6      my -- and my requirement to Dr. McCann was
     7      that during the entire time period, I did not
     8      see a sufficient due diligence to satisfy the
     9      regulatory requirements, so that's why it was
    10      ran during the whole time frame.
    11      BY MR. EPPICH:
    12              Q.        How many due diligence
    13      investigations or analyses would be enough to
    14      be sufficient due diligence?
    15              A.        Every one of the suspicious
    16      orders.
    17              Q.        Did you review any of the
    18      flagged orders from Dr. McCann's analysis of
    19      McKesson?
    20              A.        No, sir.
    21              Q.        Do you intend to offer any
    22      opinions on whether the orders flagged by
    23      Dr. McCann are legitimate or suspicious?
    24              A.        If that requirement is required
    25      of me by the attorneys in the case, I would

   Golkow Litigation Services                                          Page 366
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further64Confidentiality
                                                       of 144. PageID #: 83313
                                                                           Review

     1      complete that analysis.            I don't have any
     2      independent intentions of doing that.
     3              Q.        Sitting here today, you have no
     4      opinions about the legitimacy of the flagged
     5      orders from Dr. McCann's analysis, correct?
     6                        MR. FULLER:       That misstates his
     7              report.
     8              A.        It's -- Dr. McCann's report
     9      doesn't report orders, it just reports dosage
    10      units.     It doesn't say how many orders.                It
    11      doesn't say there was an analysis of each
    12      individual order.
    13                        It looked at them whether or
    14      not they violated the trigger that was
    15      provided for each one of them, and if it --
    16      and then it moved forward without the --
    17      because already knowing that there was
    18      insufficient due diligence.
    19      BY MR. EPPICH:
    20              Q.        And you reviewed -- let me
    21      strike that.
    22                        Let's turn to page 74 of your
    23      report.      On page 74, I'm looking at
    24      Section 6, the second paragraph in
    25      particular.       The first sentence there says:

   Golkow Litigation Services                                          Page 367
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further65Confidentiality
                                                       of 144. PageID #: 83314
                                                                           Review

     1      There is no more effective control to prevent
     2      diversion than blocking a suspicious order
     3      before it is shipped.
     4                        Did I read that correctly?
     5              A.        You did, sir.
     6              Q.        And that's because a blocked
     7      order of opioids remains safely in the vault
     8      of the distributor's warehouse, correct?
     9              A.        I guess you could make that
    10      assumption.       It doesn't leave the control of
    11      the distributor and have the potential to be
    12      diverted, so I think that's probably the same
    13      statement, yes, sir.
    14              Q.        You'd agree that reporting the
    15      blocked order to DEA in a suspicious order
    16      report does not prevent the blocked order
    17      from being diverted, correct?
    18              A.        Well, that hypothetical
    19      wouldn't occur because if you block an order
    20      and report it, that doesn't -- unless you're
    21      saying that that causes a distribution, and
    22      if that causes the distribution without the
    23      effective due diligence, then no, that would
    24      not be true.
    25                        I would say that it would

   Golkow Litigation Services                                          Page 368
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further66Confidentiality
                                                       of 144. PageID #: 83315
                                                                           Review

     1              UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF OHIO
     2                    EASTERN DIVISION
     3    IN RE: NATIONAL             )    MDL No. 2804
          PRESCRIPTION OPIATE         )
     4    LITIGATION                  )    Case No.
                                      )    1:17-MD-2804
     5                                )
          THIS DOCUMENT RELATES TO    )    Hon. Dan A.
     6    ALL CASES                   )    Polster
                                      )
     7
     8
     9                              __ __ __
    10                       Tuesday, May 14, 2019
                                   __ __ __
    11
               HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
    12                  CONFIDENTIALITY REVIEW
                               __ __ __
    13
    14
    15
    16            Videotaped Deposition of JAMES E.
            RAFALSKI, VOLUME 2, held at Weitz &
    17      Luxenburg PC, 3011 West Grand Avenue, Suite
            2150, Detroit, Michigan, commencing at
    18      8:25 a.m., on the above date, before
            Michael E. Miller, Fellow of the Academy of
    19      Professional Reporters, Registered Diplomate
            Reporter, Certified Realtime Reporter and
    20      Notary Public.
    21
    22
    23                            __ __ __
    24                   GOLKOW LITIGATION SERVICES
                      877.370.3377 ph | fax 917.591.5672
    25                        deps@golkow.com

   Golkow Litigation Services                                          Page 411
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further67Confidentiality
                                                       of 144. PageID #: 83316
                                                                           Review

     1      there were questions related to the summary
     2      data, I think I could answer any questions
     3      related to that data because it's obviously
     4      posted on the DEA website.
     5              Q.        All right.       I'd like you to
     6      turn to page 37 of your report, which I
     7      believe you have in front of you.
     8              A.        It is.
     9              Q.        And I understand it's
    10      Exhibit 16.
    11              A.        It is.
    12              Q.        Pages 37 through 40 of your
    13      report are within a section that starts on
    14      page 36.
    15                        Do you see that?
    16              A.        Yes, ma'am, titled Maintenance
    17      of Effective Controls Against Diversion of
    18      Controlled Substances.
    19              Q.        Yeah.     And at the top of
    20      page 37, just before the bullet list starts,
    21      you wrote:       Included below are some key
    22      components that one would expect to see an
    23      operational system designed to maintain
    24      effective controls against diversion.
    25                        Did I read that correctly?

   Golkow Litigation Services                                          Page 440
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further68Confidentiality
                                                       of 144. PageID #: 83317
                                                                           Review

     1              A.        You did, ma'am.
     2              Q.        Okay.     Then following that
     3      statement at the top of page 37 of your
     4      report, you've included a list, a
     5      bullet-pointed list, several levels of bullet
     6      points, that carries all the way over to
     7      page 40.
     8                        Would you agree with that?
     9              A.        Yes, ma'am.
    10              Q.        Is that list of bullet points
    11      on pages 37 to 40, is it your opinion that
    12      those are requirements to be included in a
    13      distributor's suspicious order monitoring
    14      system?
    15              A.        No, I wouldn't say they're
    16      requirements.        As the initial statement said,
    17      they would -- I would expect to see those as
    18      components of an operational system, but it's
    19      not a -- not dictating or saying that they're
    20      a requirement by the government.
    21              Q.        You're not saying that any of
    22      those bullet points on pages 37 through 40
    23      are requirements, not a single one of them?
    24              A.        Oh, to meet the maintenance of
    25      effective controls, I think they're all

   Golkow Litigation Services                                          Page 441
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further69Confidentiality
                                                       of 144. PageID #: 83318
                                                                           Review

     1      requirements, but I understood your question
     2      to say is this something that would be a
     3      regulatory requirement, that something would
     4      be in a regulation, these specific things.
     5              Q.        Let me --
     6              A.        Based on my experience, these
     7      are all the things that I believe should be
     8      present in a functioning operational
     9      suspicious order system.
    10              Q.        Let me see if I understand your
    11      testimony.
    12                        You're saying that the list of
    13      components on pages 37 to 40 are not
    14      requirements under the DEA's suspicious order
    15      monitoring regulation; is that correct?
    16      That's part one.
    17              A.        Well, the word "requirement" is
    18      kind of the word that I'm thinking about.                   So
    19      if you're trying to say that it's a mandate,
    20      I would say in order for me to say that it's
    21      an operational system, then these things
    22      would need to be present.             If they weren't
    23      present, it wouldn't be an operational
    24      system.
    25                        So if you were to say that you

   Golkow Litigation Services                                          Page 442
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further70Confidentiality
                                                       of 144. PageID #: 83319
                                                                           Review

     1      could take this and say the DEA said you must
     2      have these things in your system, there's a
     3      possibility that maybe one of them wouldn't
     4      be there and it still could function.
     5                        So I wouldn't say -- I don't
     6      want to say that this is dictating exactly
     7      what has to be in a system, but in my
     8      experience in reviewing a lot of systems,
     9      these would be the key components I would
    10      expect to see.
    11              Q.        All right.       Now I'm more
    12      confused than I was before.
    13              A.        Okay.
    14              Q.        If I understand what you're
    15      saying, it seems like you're saying the
    16      bullet list at pages 37 to 40 are not
    17      required by the DEA's suspicious order
    18      monitoring regulation, but they are required
    19      by the maintenance of effective controls
    20      against diversion?
    21              A.        Let me start over.          So --
    22              Q.        Just -- can you just say yes or
    23      no?    I really want to just know if I'm
    24      following you.
    25                        MR. FULLER:       No, he can explain

   Golkow Litigation Services                                          Page 443
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further71Confidentiality
                                                       of 144. PageID #: 83320
                                                                           Review

     1              clarify.
     2                        MS. SWIFT:       All right.       Let me
     3              see if I can clean this up.
     4                        MR. FULLER:       Sure.
     5      BY MS. SWIFT:
     6              Q.        There was a pronoun in the
     7      question that I thought Mike was correcting.
     8                        When you say -- let's see.              The
     9      maintenance of effective controls is in the
    10      large regulation which is above, or the
    11      hierarchy, did you mean 1301.74(a)?
    12              A.        Well, that is the regulation.
    13      I'm also aware that the laws in 823, USC 823.
    14              Q.        As your counsel just reminded
    15      you?
    16              A.        Well, I've always known that
    17      whether counsel reminded me or not.
    18              Q.        Understood.       Understood.
    19              A.        So that's the regulation, it's
    20      both the law regulation and the law.                 Only --
    21      1301.74(b) is only a regulation, which is
    22      part of the security program, which is part
    23      of maintenance of effective controls.
    24                        So it's kind of bulleted so
    25      that the top regulation is maintenance of

   Golkow Litigation Services                                          Page 446
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further72Confidentiality
                                                       of 144. PageID #: 83321
                                                                           Review

     1      effective controls.          Falling under that is
     2      suspicious order system.
     3              Q.        So the list on 37 to 40, these
     4      are not requirements under 1301.74(b), the
     5      suspicious order monitoring regulation,
     6      correct?
     7              A.        So I'd like to answer that by
     8      saying I believe these are all components,
     9      which would be necessary to have an effective
    10      suspicious monitoring -- a suspicious order
    11      monitoring system.
    12              Q.        And with respect, sir, that's
    13      not what I asked you.
    14                        Are the bullet list components
    15      on pages 37 to 40 of your report required
    16      under 1301.74(b), the suspicious order
    17      monitoring --
    18              A.        Yes, they are.
    19              Q.        Okay.     All of them?
    20              A.        Yes.
    21              Q.        Okay.     Great.     Thanks.
    22                        Is it possible to have a
    23      compliant suspicious order monitoring system
    24      without all of these components?
    25              A.        Yes, I think it would be

   Golkow Litigation Services                                          Page 447
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further73Confidentiality
                                                       of 144. PageID #: 83322
                                                                           Review

     1      possible.
     2              Q.        But they are all requirements?
     3              A.        Based on -- depending on the
     4      scope of the business that's the customer and
     5      based on the scope of activity of the
     6      distributor, I would say that some of
     7      these -- there could be some of these that
     8      would not be necessary.            But I'd also say
     9      that there may be some that aren't identified
    10      on this list.        And also, based on the fact
    11      that the distribution activity is not static
    12      and it changes.
    13              Q.        So if I'm following you, all of
    14      the bullet-listed components on pages 37 to
    15      40 are, in fact, required under 1301.74(b),
    16      but you could have a compliant suspicious
    17      order monitoring system without all of these
    18      compliant -- components, and, in fact, there
    19      may be other components that are required
    20      under 1301.74(b) that are not included in
    21      this list.
    22                        Do I have all that, correct,
    23      sir?
    24              A.        I believe that's correct, yes.
    25              Q.        Okay.

   Golkow Litigation Services                                          Page 448
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further74Confidentiality
                                                       of 144. PageID #: 83323
                                                                           Review

     1              A.        I'm not saying this is an
     2      exclusive list and there might not be other
     3      things that I have not considered or might
     4      come up based on the type of business
     5      activities that are involved.
     6              Q.        On page 39, if you would take a
     7      look, please.        You say, the top bullet, that:
     8      A robust and well-documented due diligence
     9      program is key.
    10                        And then it goes on from there
    11      and provides components that you say you
    12      would like to see in a due diligence
    13      compliance program for suspicious orders,
    14      correct, sir?
    15              A.        Yes, ma'am.
    16              Q.        Is it your opinion that a
    17      distributor has to do all of the diligence
    18      steps listed here in order to comply with the
    19      law?
    20              A.        Yes, ma'am.
    21              Q.        All right.       I want you to hold
    22      on to these pages of your report for a
    23      minute, please.         And I'm going to hand you a
    24      document.      This will be Exhibit 19.
    25                        (Whereupon, Deposition Exhibit

   Golkow Litigation Services                                          Page 449
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further75Confidentiality
                                                       of 144. PageID #: 83324
                                                                           Review

     1              Rafalski-19, 5/17/06 Corso Letter,
     2              WAGMDL00753477 - WAGMDL00753479, was
     3              marked for identification.)
     4                        MR. FULLER:       Are they all the
     5              same?
     6                        MS. SWIFT:       They're all the
     7              same.
     8                        MR. FULLER:       Okay.
     9      BY MS. SWIFT:
    10              Q.        Okay.     Exhibit 19 is a
    11      May 17th, 2006 letter from the DEA to Todd
    12      Polarolo at Walgreens in Perrysburg, Ohio,
    13      correct, sir?
    14              A.        Yes.
    15              Q.        Do you recognize this as a
    16      letter the DEA sent to Walgreens after an
    17      audit of Walgreens' Perrysburg, Ohio
    18      distribution center in 2006?
    19              A.        I recognize it only based on my
    20      review of documents for preparation of this
    21      is the first time I've seen this, from my
    22      report.
    23              Q.        You're mentioned in the first
    24      paragraph of the May 17th, 2006 letter,
    25      correct, sir?

   Golkow Litigation Services                                          Page 450
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further76Confidentiality
                                                       of 144. PageID #: 83325
                                                                           Review

     1              A.        I was there, yes, ma'am.
     2              Q.        When you were at the Detroit
     3      field office, you were involved in this audit
     4      of Walgreens' Perrysburg, Ohio distribution
     5      center, correct, sir?
     6              A.        Yes, ma'am.
     7              Q.        This was a routine audit before
     8      Walgreens' Perrysburg distribution center
     9      started distributing Schedule II controlled
    10      substances in early 2007, correct, sir?
    11              A.        No, that's not correct.
    12              Q.        What is the basis of your
    13      statement that that's not correct?
    14              A.        It's a regulatory audit, but it
    15      was just scheduled as part of the work plan
    16      program.      It wasn't in response to the second
    17      part of your question, Schedule II controlled
    18      substance authorization.
    19              Q.        Are you offering that testimony
    20      based on your personal involvement with an
    21      investigation of Walgreens while you were at
    22      the DEA?
    23                        MR. FULLER:       Again, I remind
    24              you, Mr. Rafalski, that your
    25              authorization does not and

   Golkow Litigation Services                                          Page 451
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further77Confidentiality
                                                       of 144. PageID #: 83326
                                                                           Review

     1              specifically addresses the fact that
     2              Walgreens was an investigation that
     3              you conducted that you're not
     4              authorized to talk about it based on
     5              your personal knowledge.             Just from
     6              what information you gained in this
     7              litigation.
     8      BY MS. SWIFT:
     9              Q.        Do you want to retract the
    10      testimony that you gave a moment ago?
    11              A.        Yes, thank you.
    12              Q.        This 2006 letter that I marked
    13      as Exhibit 19 that the DEA sent to Walgreens
    14      does not include the three pages of guidance
    15      on what Walgreens' suspicious order
    16      monitoring system should look like that you
    17      included in your report at pages 37 to 40,
    18      does it, sir?
    19              A.        It does not.
    20              Q.        This 2006 letter the DEA sent
    21      Walgreens, it says what DEA thought Walgreens
    22      was doing wrong.         It doesn't provide an
    23      explanation of what we should do to do it
    24      right, correct, sir?
    25              A.        That's an accurate description

   Golkow Litigation Services                                          Page 452
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further78Confidentiality
                                                       of 144. PageID #: 83327
                                                                           Review

     1      of what the letter says, yes, ma'am.
     2              Q.        You did not provide to
     3      Walgreens the three pages of requirements
     4      that are included in your report.                You didn't
     5      give those to Walgreens in 2006, correct,
     6      sir?
     7                        MR. FULLER:       Object to form.
     8              Don't answer that, that would be based
     9              on your own investigation, not
    10              knowledge of this case.
    11      BY MS. SWIFT:
    12              Q.        You're not going to come to
    13      trial and say you provided these three pages
    14      of guidance to Walgreens in 2006, correct,
    15      sir?
    16              A.        If the Touhy is still in place,
    17      I would say that I would not be able to
    18      testify to that.
    19              Q.        You worked with the folks at
    20      Walgreens' Ohio distribution center for
    21      several years, correct, sir?
    22              A.        I'll respond to that question
    23      by saying as part of my assignments as a
    24      diversion investigator, I went on-site to
    25      that facility several times.              I'm not sure I

   Golkow Litigation Services                                          Page 453
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further79Confidentiality
                                                       of 144. PageID #: 83328
                                                                           Review

     1      would agree that I worked with them, but I
     2      was present at the registered location.
     3              Q.        You worked with Steve Kneller a
     4      fair amount?       He works at the Perrysburg
     5      distribution center.
     6              A.        I know the name Mr. Kneller.              I
     7      think it's K-N-E-L-L-E-R?
     8              Q.        Correct.
     9              A.        I recognize that he was the
    10      person that if I was on-site, that he would
    11      be the person that I would have contact with,
    12      yes, ma'am.
    13              Q.        Did you know Justin Joseph as
    14      well?
    15              A.        There was another -- there was
    16      one other person with him, and I don't know
    17      that that was Mr. Joseph.             I do remember who
    18      Mr. Polarolo was, but I'm not sure.
    19              Q.        You never told Steve or Justin
    20      or Todd Polarolo or anybody else at the
    21      Perrysburg distribution center, here's a list
    22      of things your suspicious order monitoring
    23      system is supposed to have, did you, sir?
    24                        MR. FULLER:       Object to form.
    25              I'd remind you of your Touhy

   Golkow Litigation Services                                          Page 454
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further80Confidentiality
                                                       of 144. PageID #: 83329
                                                                           Review

     1              authorization.
     2                        THE WITNESS:        Based on the
     3              Touhy, I'm not going to answer.
     4      BY MS. SWIFT:
     5              Q.        You don't say anything like
     6      that -- strike that.
     7                        The DEA doesn't say anything
     8      like that in this 2006 letter, correct, sir?
     9              A.        None of the things that are in
    10      the pages we've discussed is present in this
    11      letter.
    12              Q.        You also don't say in your
    13      report that you told Walgreens at any point
    14      in time, here's what your suspicious order
    15      monitoring system is supposed to look like?
    16              A.        My report does not indicate
    17      that I told them that, that's a correct
    18      statement.
    19              Q.        Did anything prevent you from
    20      providing these pages of guidance on
    21      suspicious order monitoring to Walgreens in
    22      2006 or at any other point in time?
    23                        MR. FULLER:       Object to form.
    24              If it would deal with internal DEA
    25              policies and what agents were and were

   Golkow Litigation Services                                          Page 455
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further81Confidentiality
                                                       of 144. PageID #: 83330
                                                                           Review

     1              not allowed to do, you're not
     2              authorized to answer that.
     3                        THE WITNESS:        I think based on
     4              the Touhy, I'm not going to answer
     5              that question.
     6      BY MS. SWIFT:
     7              Q.        Your position today, 13 years
     8      after this 2006 letter from the DEA to
     9      Walgreens, your position today after you've
    10      been hired by the plaintiffs' lawyers and
    11      paid to offer opinions in this case is that
    12      these pages of your report, these three pages
    13      listing these requirements, are all obligated
    14      by law; is that right, sir?
    15              A.        I think I've always believed
    16      they were obligated by the law.               I would
    17      probably say in 2006, the environment in
    18      regards to the opioid crisis and diversion,
    19      probably the environments changed.
    20                        So I'm not sure that all of
    21      these would have been something that I would
    22      have used or been aware of at that time.
    23                        I think this is fluid and it's
    24      changed over a period of years, but
    25      generally, the answer to your question...

   Golkow Litigation Services                                          Page 456
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further82Confidentiality
                                                       of 144. PageID #: 83331
                                                                           Review

     1              Q.        My question is simply:            Do you
     2      agree with me that the formula in
     3      Appendix E(3) that Walgreens used to report
     4      suspicious orders from 2007 to 2012 is not
     5      the same as the customer grouping formula
     6      Walgreens was using in 2006?
     7              A.        Well, this statement just goes
     8      to say that they used the same multiplier, so
     9      the three multiplier is the same as the E(3)
    10      as it is in the area referenced in the prior
    11      time period.
    12              Q.        The two formulas are not the
    13      same, correct, sir?
    14              A.        The formulas are not, but the
    15      multiplier is.
    16              Q.        Okay.     That's all I'm trying to
    17      get an understanding from you is whether the
    18      customer grouping formula that Walgreens was
    19      using when it received the 2006 letter from
    20      the DEA is the same or different from the
    21      formula it changed to use afterwards?
    22              A.        There's no customer grouping in
    23      the subsequent years --
    24              Q.        Thank you.
    25              A.        -- starting in 2007.

   Golkow Litigation Services                                          Page 467
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further83Confidentiality
                                                       of 144. PageID #: 83332
                                                                           Review

     1              Q.        You didn't do -- well, strike
     2      that.
     3                        You don't say in your report
     4      that you or anyone else at the DEA ever told
     5      Walgreens not to use the formula found in
     6      Appendix E(3) of the Chemical Handler's
     7      Manual, correct, sir?
     8              A.        Appendix E(3) was never
     9      discussed in my presence with Walgreens.
    10              Q.        The DEA's 2006 letter to
    11      Walgreens doesn't say not to use the E(3)
    12      formula, correct?
    13              A.        I still stand by my previous
    14      statement.       The E(3) appendix was never
    15      discussed by me or anyone in my presence the
    16      whole time I was at Walgreens.
    17              Q.        And it's not mentioned in this
    18      letter either?
    19              A.        It is not mentioned in that
    20      letter.
    21              Q.        All right.       I'd like you to
    22      turn to page 40 of your report, please.                   Is
    23      that 40?
    24              A.        I'm sorry.
    25              Q.        I believe you testified

   Golkow Litigation Services                                          Page 468
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further84Confidentiality
                                                       of 144. PageID #: 83333
                                                                           Review

     1      yesterday that you did not review any of the
     2      flagged orders from Dr. McCann's analysis; is
     3      that correct?
     4              A.        I think my testimony in that
     5      area was any specific orders.              That would be
     6      correct of what my testimony was, yes.
     7              Q.        You did not do any analysis to
     8      see whether any specific suspicious order
     9      caused the diversion of any specific pills
    10      for nonmedical use, correct?
    11              A.        In regards to Dr. McCann's --
    12              Q.        Correct.
    13              A.        That would be a correct
    14      statement.       I didn't do a specific order of a
    15      specific drug, if I understand your question
    16      properly.
    17              Q.        Well, you asked for a
    18      clarification of whether I was speaking about
    19      Dr. McCann's analysis.
    20                        You didn't do any analysis to
    21      see whether any specific suspicious order
    22      caused the diversion of any specific pills,
    23      correct?
    24                        MR. FULLER:       Object to form.
    25              A.        I think that's an accurate

   Golkow Litigation Services                                          Page 469
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further85Confidentiality
                                                       of 144. PageID #: 83334
                                                                           Review

     1      statement.
     2      BY MS. SWIFT:
     3              Q.        You testified yesterday that
     4      you endorsed Flagging Method A, which you can
     5      see at the top of page 41 of your report.
     6      Because it -- is that correct?
     7              A.        I think that's an accurate
     8      statement.       It was -- I endorsed it because
     9      it was utilized by the Masters
    10      Pharmaceutical.
    11              Q.        Is that the only reason you
    12      endorsed Flagging Method A?
    13              A.        No, that wouldn't be the only
    14      reason, no, ma'am.
    15              Q.        Did any of the plaintiffs'
    16      lawyers instruct or suggest to you that you
    17      use Flagging Method A?
    18              A.        No.
    19              Q.        What other reasons did you
    20      endorse Flagging Method A?
    21              A.        One, it was part of one of the
    22      investigations I conducted, so I was familiar
    23      with it.      I believe it was discussed at an
    24      administrative hearing with the DEA,
    25      subsequently reviewed by the D.C. Court, and

   Golkow Litigation Services                                          Page 470
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further86Confidentiality
                                                       of 144. PageID #: 83335
                                                                           Review

     1      there was a ruling on it from the D.C. Court
     2      and also the one ruling that it was part of
     3      this litigation, I think...
     4              Q.        Discovery Ruling 12?
     5              A.        Yes, Discovery Ruling 12.             So I
     6      think it's had some scrutiny.              I think it
     7      would be the proper one.            And that's...
     8              Q.        What analysis, if any, did you
     9      undertake to test each of the five flagging
    10      methodologies and their ability to identify
    11      suspicious orders?
    12              A.        Could you say that one more
    13      time, please?
    14              Q.        Sure.
    15                        What analysis, if any, did you
    16      do to test the five flagging methodologies in
    17      your report and their ability to identify
    18      suspicious orders?
    19              A.        I didn't personally do any
    20      tests.     I'm aware that they could have been
    21      done by Dr. McCann, but I didn't personally
    22      do them.
    23              Q.        Do you know whether Dr. McCann
    24      conducted any analysis at all to test the
    25      five flagging methodologies and their ability

   Golkow Litigation Services                                          Page 471
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further87Confidentiality
                                                       of 144. PageID #: 83336
                                                                           Review

     1      to identify suspicious orders?
     2                        MR. FULLER:       Object to form.
     3              A.        He had an extensive report.
     4      I'm not sure on that.           I believe he did, but
     5      I'm not sure.
     6      BY MS. SWIFT:
     7              Q.        Why do you believe Dr. McCann
     8      did any analysis at all to test the five
     9      flagging methodologies and their ability to
    10      identify suspicious orders?
    11                        MR. FULLER:       Object to form.
    12              A.        Well, I think that's what this
    13      does.
    14      BY MS. SWIFT:
    15              Q.        You think that's what what
    16      does?
    17              A.        I think the methodology of A
    18      identifies suspicious orders based on that
    19      methodology, and then it provides them in
    20      dosage units.        So I think ultimately, for
    21      these dosage units to appear on this page,
    22      there had to be flagged suspicious orders.
    23              Q.        You're pointing to a page of
    24      your report, not Dr. McCann's report,
    25      correct, sir?

   Golkow Litigation Services                                          Page 472
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further88Confidentiality
                                                       of 144. PageID #: 83337
                                                                           Review

     1              A.        Right.     But -- yes.        But for me
     2      to see this --
     3                        MR. FULLER:       Form.
     4              A.        -- I would have to know that
     5      this methodology had flagged suspicious
     6      orders because that's the only way the dosage
     7      units could appear on this chart.
     8      BY MS. SWIFT:
     9              Q.        Did you read Dr. McCann's
    10      report?
    11              A.        I did.
    12              Q.        When did you read Dr. McCann's
    13      report?
    14              A.        Sometime after he had submitted
    15      it and reviewed his charts resulting from his
    16      analysis.
    17              Q.        Did you read Dr. McCann's
    18      report before you put together this section
    19      of your report that appears at page 41?
    20              A.        No.
    21              Q.        Flagging Methodology A -- I'm
    22      still at page 41 of your report.                I'm going
    23      to focus on the rows of these tables that
    24      we've got here that relate to my client,
    25      which is Walgreens, okay?

   Golkow Litigation Services                                          Page 473
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further89Confidentiality
                                                       of 144. PageID #: 83338
                                                                           Review

     1              A.        Sure.     Yes, ma'am.
     2              Q.        Flagging Methodology A flagged
     3           of all Walgreens orders by dosage unit of
     4      oxycodone and hydrocodone, correct, sir?
     5              A.        Yes, ma'am.
     6              Q.        Is it your professional opinion
     7      to a reasonable degree of certainty that
     8      of Walgreens orders should not have been
     9      shipped?
    10              A.        Based on the conduct of
    11      Walgreens and the failure to do due diligence
    12      on suspicious orders, yes, ma'am.
    13              Q.        Is it your opinion to a
    14      reasonable degree of certainty that only
    15      of orders from Walgreens stores should have
    16      been shipped and available to fill
    17      prescriptions for Walgreens patients?
    18              A.        Well, that would be the
    19      converse of this statement, but based on
    20      their conduct -- I'll go back again, based on
    21      their conduct and their failure to do
    22      diligence after identification of suspicious
    23      orders, the only conclusion I can draw is
    24      that subsequent to that act, all of the
    25      controlled substances were diverted.

   Golkow Litigation Services                                          Page 474
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further90Confidentiality
                                                       of 144. PageID #: 83339
                                                                           Review

     1              Q.        So that's a yes, your opinion
     2      is that only          of orders from Walgreens
     3      stores should have been shipped and available
     4      to fill prescriptions for Walgreens patients?
     5                        MR. FULLER:       Object to form.
     6              A.        I really don't know because
     7      Walgreens didn't conduct the proper due
     8      diligence.       But based on the methodology and
     9      how I applied it, that's the results of the
    10      methodology.
    11      BY MS. SWIFT:
    12              Q.        You don't know whether it's
    13      true that only           of orders from Walgreens
    14      stores should have been shipped and available
    15      for prescriptions to be filled for Walgreens
    16      patients?
    17              A.        I guess you would draw that
    18      conclusion based on                 based on the
    19      conduct of Walgreens, yes, ma'am.
    20              Q.        You would draw the
    21      conclusion --
    22              A.        I would draw the conclusion
    23      based on --
    24              Q.        Let me ask the question so the
    25      record is clear.

   Golkow Litigation Services                                          Page 475
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further91Confidentiality
                                                       of 144. PageID #: 83340
                                                                           Review

     1                        You would draw the conclusion
     2      that only         of Walgreens orders should have
     3      been shipped so that prescriptions could be
     4      filled for Walgreens patients?
     5                        MR. FULLER:       Object to form,
     6              asked and answered.           You've asked it
     7              twice now or three times, probably.
     8              A.        Same as my previous statement.
     9      Based on Walgreens' conduct in regards to
    10      applying this methodology, that would be a
    11      correct statement, yes, ma'am.
    12      BY MS. SWIFT:
    13              Q.        You didn't do any analysis of
    14      how many people would not have gotten their
    15      medication if            of Walgreens orders had not
    16      shipped, correct, sir?
    17              A.        I did not.
    18              Q.        You didn't do any analysis of
    19      how many legitimate prescriptions would have
    20      gone unfilled if 95% of Walgreens orders had
    21      not been shipped, correct, sir?
    22              A.        I did not do that analysis, no,
    23      ma'am.
    24              Q.        In your report, you don't offer
    25      an opinion on the legitimacy of any of the

   Golkow Litigation Services                                          Page 476
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further92Confidentiality
                                                       of 144. PageID #: 83341
                                                                           Review

     1      other flagging methods you talk about,
     2      correct?
     3              A.        That's correct.
     4              Q.        You didn't offer any criticisms
     5      of any of the five flagging methods in your
     6      report, correct, sir?
     7              A.        Oh, I think I did.
     8              Q.        Where did you offer criticisms
     9      of any of the five flagging methods in your
    10      report?
    11              A.        You're saying the
    12      methodology --
    13              Q.        Correct.
    14              A.        -- for example, the three
    15      times?
    16              Q.        There are five methodologies --
    17                        MR. FULLER:       Go ahead and
    18              finish your answer, Raf.
    19                        MS. SWIFT:       Yes, I was
    20              answering his question.            There was no
    21              pending question.
    22              A.        Yes.    Throughout my report, I
    23      think there's reviews of these methodologies,
    24      and I think I'm critical of each of the
    25      methodologies, with the exception of

   Golkow Litigation Services                                          Page 477
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further93Confidentiality
                                                       of 144. PageID #: 83342
                                                                           Review

     1      data that it would have to indicate specific
     2      orders which would identify those pharmacies.
     3                        Now, whether he looked at them
     4      specifically to that pharmacy, but based on
     5      your question, just the analysis of the ARCOS
     6      data, that -- that actually would occur
     7      because each order would be specific to a
     8      pharmacy.
     9                        He didn't -- if I understand
    10      your question, he didn't look at them in
    11      terms of each specific pharmacy, but the
    12      nature of the analysis, it is by the pharmacy
    13      by the orders.
    14              Q.        You did not perform an analysis
    15      to see whether Walgreens performed diligence
    16      on any of the actual orders that flagged on
    17      any of your five methodologies in
    18      Mr. McCann's analysis, correct?
    19              A.        Well, my investigation and
    20      opinion of Walgreens does state that in
    21      regards to the due diligence topic.
    22              Q.        Listen to my question.            That's
    23      not what I'm asking about.
    24              A.        Okay.
    25              Q.        We'll get to the stuff you say

   Golkow Litigation Services                                          Page 488
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further94Confidentiality
                                                       of 144. PageID #: 83343
                                                                           Review

     1      in your report about the due diligence that
     2      Walgreens did.
     3                        You didn't perform an analysis
     4      to see whether Walgreens performed diligence
     5      on any of the specific orders that flagged on
     6      any of these five methodologies, correct,
     7      sir?
     8              A.        I'm not aware of any due
     9      diligence for those orders, that's correct.
    10              Q.        That's not what I asked.
    11              A.        I didn't -- I didn't
    12      specifically go to McCann's report and look
    13      at each order of Dr. McCann's and try to find
    14      due diligence.        I just looked at the scope of
    15      the due diligence by Walgreens.
    16              Q.        You didn't go to Dr. McCann's
    17      report and look at any order of -- that
    18      flagged on any of the analyses.
    19              A.        That's a correct statement.
    20              Q.        For any of the five flagging
    21      methods that you talk about, did you consider
    22      the impact of stocking a new store's shelves?
    23              A.        I did not take that specific
    24      incident into consideration, but in my review
    25      of due diligence records, I didn't find

   Golkow Litigation Services                                          Page 489
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further95Confidentiality
                                                       of 144. PageID #: 83344
                                                                           Review

     1      anything that would indicate that that had
     2      occurred.
     3              Q.        Did you consider whether any of
     4      the five flagging methods that you talk about
     5      could flag an order for a store before the
     6      store even opened for business, just based on
     7      the stocking of the store's shelves?                 Do you
     8      know whether that happened?
     9              A.        I'm not aware that that had
    10      happened.
    11              Q.        Did you read Dr. McCann's
    12      testimony from this past Friday that using at
    13      least some of these five flagging methods, an
    14      order to stock a new store's shelves could be
    15      flagged?
    16              A.        I don't recall reading that in
    17      his testimony, no, ma'am.
    18              Q.        Did you read his testimony yet?
    19      I know it was just the other day.
    20              A.        I've read so many.          I don't
    21      believe so.
    22              Q.        I will represent to you, and
    23      you can check the transcript, that Dr. McCann
    24      testified that for low-volume stores, the
    25      store might never have another order as big

   Golkow Litigation Services                                          Page 490
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further96Confidentiality
                                                       of 144. PageID #: 83345
                                                                           Review

     1      an economist or I've never talked to anyone
     2      with the purpose of giving these things to an
     3      economist.       So I don't want to imply my
     4      testimony is I've never talked to an
     5      economist.       I'm not aware of it, but I'm just
     6      kind of protecting the fact that if I did, I
     7      wasn't even aware of it.
     8              Q.        You never explained the data in
     9      your report to anyone for the purpose of them
    10      taking that data and using it to calculate
    11      damages in this litigation?
    12              A.        I have never done that.
    13              Q.        You testified yesterday that
    14      you provided the five flagging methods
    15      discussed in your report -- you provided
    16      those to plaintiffs' counsel by phone I
    17      believe, you said to -- provided them to
    18      Mr. Farrell.
    19                        Do you remember that testimony?
    20              A.        I think that question was the
    21      first time that I talked to somebody about
    22      it.    So --
    23              Q.        I'm trying to get at how the --
    24                        MR. FULLER:       Object to the form
    25              of the last question.            I'm sorry.

   Golkow Litigation Services                                          Page 498
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further97Confidentiality
                                                       of 144. PageID #: 83346
                                                                           Review

     1      BY MS. SWIFT:
     2              Q.        I'm trying to get at how the
     3      five flagging methods made their way from you
     4      to Dr. McCann.
     5                        Do you have any idea how that
     6      happened?
     7              A.        There was a couple of different
     8      discussions with the plaintiff attorneys.
     9      I'm not sure who relayed it to Dr. McCann.                    I
    10      discussed it with Paul Farrell, Mr. Farrell a
    11      couple of times; also with Mr. Fuller.                  I'm
    12      not sure who relayed it to him, but I
    13      discussed the methodologies and how I wanted
    14      them applied.
    15              Q.        All of those conversations were
    16      verbal, is that correct, not in writing?
    17              A.        There was nothing in writing,
    18      and they were verbal, either in person or on
    19      a telephone.
    20              Q.        I'm going to hand you what I'll
    21      mark as Exhibit 20.
    22                        MS. SWIFT:       And, Counsel, I
    23              apologize, I only have one extra copy.
    24              Blame the hotel.          I'm not even going
    25              to have a copy for myself.

   Golkow Litigation Services                                          Page 499
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further98Confidentiality
                                                       of 144. PageID #: 83347
                                                                           Review

     1                        (Whereupon, Deposition Exhibit
     2              Rafalski-20, Plaintiffs' Responses to
     3              the Amended and Clarified Discovery
     4              Ruling 12 Supplemental Interrogatory
     5              Issued to Plaintiffs, was marked for
     6              identification.)
     7      BY MS. SWIFT:
     8              Q.        Do you have that in front of
     9      you, sir?
    10              A.        I do.
    11                        THE WITNESS:        Trade you.
    12              Sorry.
    13      BY MS. SWIFT:
    14              Q.        Well, first of all, have you
    15      ever seen the document that I've marked as
    16      Exhibit 20?
    17              A.        I have, yes, ma'am.
    18              Q.        The document I marked as
    19      Exhibit 20 is a set of interrogatory
    20      responses served by the plaintiffs on
    21      January 25th, 2019, and if you go to -- I
    22      believe it's the sixth page -- there's a list
    23      of flagging methodologies prepared at the
    24      very end of the written interrogatory
    25      response.      Keep going.

   Golkow Litigation Services                                          Page 500
Case:Highly
      1:17-md-02804-DAP Doc #:
             Confidential   - 1900-3 Filed:
                               Subject   to 07/19/19
                                             Further99Confidentiality
                                                       of 144. PageID #: 83348
                                                                           Review

     1                        MR. FULLER:       It's not page
     2              numbered.
     3                        MS. SWIFT:       I noticed that,
     4              Mike.
     5                        MR. FULLER:       We'll blame
     6              Mr. Moody or Mr. Farrell.
     7      BY MS. SWIFT:
     8              Q.        Do you have a list in front of
     9      you, Mr. Rafalski, that lists five flagging
    10      methodologies in the plaintiffs'
    11      interrogatory response from January 25th?
    12              A.        I do.
    13              Q.        Are these your five flagging
    14      methodologies?
    15              A.        Yes, ma'am.
    16              Q.        Which one is based on the
    17      Masters case?
    18              A.        4.
    19              Q.        Am I correct based on your
    20      testimony today and yesterday that you're not
    21      planning to come to trial and offer testimony
    22      about any of the flagging methods except the
    23      Masters method?
    24              A.        No, I don't think that's my
    25      testimony.

   Golkow Litigation Services                                          Page 501
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 100Confidentiality
                                                          of 144. PageID #: 83349
                                                                              Review

      1              Q.         Okay.     All right.       Turning back
      2      to your report -- you can set that aside,
      3      we're done with it -- page 42, I'd like to
      4      take a look at, please.
      5                         MR. FULLER:       I'm sorry,
      6              Counsel, what page?
      7                         MS. SWIFT:       42.
      8      BY MS. SWIFT:
      9              Q.         If you had picked Flagging
     10      Method B that's identified at the top of
     11      page 42, instead of Method A, the Masters
     12      method, what data would you have presented
     13      for Walgreens?
     14                         MR. FULLER:       Object to form.
     15              A.         I don't understand that
     16      question.
     17      BY MS. SWIFT:
     18              Q.         Fair enough.
     19              A.         I think I did pick
     20      Methodology B, but so I don't understand.
     21              Q.         Well, you said you endorsed
     22      Method A and that's the only method you
     23      endorsed, correct, because of the Masters
     24      case and some other reasons?
     25              A.         Well, I think I make that

   Golkow Litigation Services                                             Page 502
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 101Confidentiality
                                                          of 144. PageID #: 83350
                                                                              Review

      1              Q.         You didn't --
      2              A.         -- trigger.
      3              Q.         You can't vouch for the
      4      accuracy of any of the numbers that appear in
      5      these tables at pages 41 to 45 of your
      6      report, correct, sir?
      7              A.         Mr. McCann would have to
      8      testify to the accuracy.             He did the
      9      analysis.
     10              Q.         You just relied on what
     11      Mr. McCann provided, correct, sir?
     12              A.         Yes, I did.
     13              Q.         You were -- strike that.
     14                         You don't have an opinion about
     15      whether any particular order that you
     16      identified or that Dr. McCann identified as
     17      suspicious was diverted to an illicit
     18      channel, correct, sir?
     19              A.         Well, I think based on the
     20      methodologies and the lack of due diligence,
     21      I think my -- these say that those were
     22      diverted.
     23              Q.         My question was a little bit
     24      different.
     25              A.         Okay.

   Golkow Litigation Services                                             Page 507
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 102Confidentiality
                                                          of 144. PageID #: 83351
                                                                              Review

      1              Q.         You don't have an opinion about
      2      whether any particular order -- you didn't
      3      look at any particular order to see whether
      4      it was diverted to an illicit channel?
      5              A.         I did not --
      6              Q.         Okay.
      7              A.         -- analyze all the orders and
      8      try to find one or locate one that was
      9      diverted.
     10              Q.         You didn't analyze any of the
     11      orders, correct, sir?
     12              A.         That's correct.
     13              Q.         You have no opinion about
     14      whether any particular order that was flagged
     15      as suspicious led to someone's addiction,
     16      overdose or death, correct, sir?
     17              A.         As of today, I have no opinion
     18      on that matter.
     19              Q.         Do you plan on coming up with
     20      that opinion at some point after today?
     21              A.         I can't rule that out if I'm
     22      asked to look at that or I'm provided some
     23      information I could review that would -- that
     24      would indicate that.            So I can't rule out
     25      that that would occur.

   Golkow Litigation Services                                             Page 508
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 103Confidentiality
                                                          of 144. PageID #: 83352
                                                                              Review

      1              Q.         If a prescription was
      2      legitimate, the pharmacist was obligated to
      3      fill it, correct, sir?
      4                         MR. FULLER:       Form.
      5              A.         I don't think the DEA speaks to
      6      that, whether they're obligated to fill a
      7      prescription.
      8      BY MS. SWIFT:
      9              Q.         Do you know one way or the
     10      other whether --
     11              A.         If the DEA speaks to that
     12      topic?
     13              Q.         No, sorry.
     14                         Do you know whether pharmacists
     15      are obligated by their professional
     16      responsibilities to fill prescriptions that
     17      they have determined are legitimate?                   Maybe
     18      you don't know one way or the other.
     19              A.         Let me think.        I don't know
     20      that, the answer to that question.
     21              Q.         All right.       Turn, if you would,
     22      please, to page 114 of your report.
     23              A.         Can I qualify my last answer,
     24      quickly?
     25              Q.         Sure.

   Golkow Litigation Services                                             Page 509
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 104Confidentiality
                                                          of 144. PageID #: 83353
                                                                              Review

      1              Q.         Is that the page 856 that you
      2      cite in your report at page 114?
      3              A.         Yes, ma'am.
      4              Q.         Okay.     This Appendix 10 from
      5      McCann's report is what you relied on to
      6      determine total volume of oxycodone and
      7      hydrocodone that Walgreens shipped into
      8      Cuyahoga and Summit Counties; is that right?
      9              A.         Yes, ma'am.
     10              Q.         You only talk about oxycodone
     11      and hydrocodone in your report, correct?
     12              A.         Yes, ma'am.
     13              Q.         Am I right that you don't have
     14      any opinions about any other opioid pain
     15      medications besides oxy and hydro?
     16              A.         As of today I do not because I
     17      was not requested to do any analysis on those
     18      other drugs.
     19              Q.         After -- turn back to page 1 of
     20      Exhibit 21.        The page 1 of Exhibit 21 is a
     21      table that shows overall numbers, Total
     22      Shipments to Cuyahoga identified by
     23      Methodology, Common Sense Method, Maximum
     24      Monthly Trailing Six-Month Pharmacy Specific
     25      Threshold, Walgreens to All Buyers, 1996 to

   Golkow Litigation Services                                             Page 513
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 105Confidentiality
                                                          of 144. PageID #: 83354
                                                                              Review

      1      2018, correct?
      2              A.         Yes.
      3              Q.         And it's a table that shows
      4      numbers broken out by drug and by
      5      transaction, dosage units, MME, and base
      6      weight, correct?
      7              A.         Yes.
      8              Q.         After the table on page 1 of
      9      Appendix 10, there's a series of bar graphs
     10      showing, in the aggregate, Walgreens
     11      shipments of oxy and hydro to its pharmacies
     12      in the aggregate, correct?
     13              A.         Yes, ma'am.
     14              Q.         None of these charts shows any
     15      data for any individual Walgreens pharmacy,
     16      correct?
     17                         MR. FULLER:       Object to form.
     18              A.         That's an accurate statement,
     19      but they're all built upon individual orders.
     20      BY MS. SWIFT:
     21              Q.         I understand.
     22              A.         Okay.
     23              Q.         I'm just saying, when you're
     24      flipping through Dr. McCann's charts that
     25      display the results of his flagging

   Golkow Litigation Services                                             Page 514
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 106Confidentiality
                                                          of 144. PageID #: 83355
                                                                              Review

      1      methodologies, you can't tell anything about
      2      any individual pharmacy, correct?
      3              A.         I cannot by looking at these
      4      charts.
      5              Q.         Do you know how many Walgreens
      6      stores there are in Cuyahoga County?
      7              A.         I do not.
      8              Q.         How about Summit County?
      9              A.         I do not.
     10              Q.         Do you know anything about the
     11      geographic locations of any of Walgreens'
     12      pharmacies in Summit or Cuyahoga County,
     13      other than the fact that they're in those
     14      counties?
     15              A.         It doesn't appear in my
     16      opinion, but during my review of data, I did
     17      at one point take a look by just using the
     18      Internet, Googling and looking at some of the
     19      locations, but I didn't formulate a report on
     20      that.
     21                         So I won't say that I never did
     22      that, but I don't have any records or
     23      documents that would record exactly the
     24      distances and the locations.
     25              Q.         You also didn't include in your

   Golkow Litigation Services                                             Page 515
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 107Confidentiality
                                                          of 144. PageID #: 83356
                                                                              Review

      1      report anything about the specific customer
      2      base for any individual Walgreens pharmacy,
      3      correct, sir?
      4              A.         I did not.
      5              Q.         Do you know how many of the
      6      Walgreens pharmacies in Cuyahoga and Summit
      7      County are on corner lots?
      8              A.         I do not.
      9              Q.         Do you know how many of the
     10      Walgreens pharmacy in Summit and Cuyahoga
     11      Counties are freestanding locations with
     12      their own dedicated parking and a
     13      drive-through window?
     14              A.         I do not.
     15              Q.         Do you know how much oxycodone
     16      or hydrocodone Walgreens distribution centers
     17      shipped to any one of those Walgreens
     18      pharmacies?
     19              A.         I do not.      I had not done that
     20      analysis up to today.
     21              Q.         You can't tell any of that from
     22      the charts that are in Appendix 10, correct,
     23      sir?
     24              A.         That's correct.
     25              Q.         All right.       You can set that

   Golkow Litigation Services                                             Page 516
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 108Confidentiality
                                                          of 144. PageID #: 83357
                                                                              Review

      1      one aside.
      2                         Turn, if you would, please,
      3      sir, to page 117 of your report.                 This is a
      4      section within the Walgreens section about
      5      the due diligence that you believe Walgreens
      6      conducted, correct?
      7              A.         Yes, ma'am.
      8              Q.         Now, as I understand it, it's
      9      your opinion that because you only saw a
     10      limited number of e-mails about due diligence
     11      that Walgreens performed 10, 12, 13 years
     12      ago, that that means Walgreens performed no
     13      other due diligence; is that correct?
     14              A.         Not that was brought to my
     15      attention in trying to formulate my opinion.
     16              Q.         And in formulating your
     17      opinion, you determined that Walgreens had
     18      only conducted limited due diligence because
     19      you only saw documentation of limited due
     20      diligence, correct?
     21              A.         That's the only basis I could
     22      use to form my opinion.
     23              Q.         You based your -- well, let me
     24      ask you this.
     25                         Did you read any of the

   Golkow Litigation Services                                             Page 517
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 109Confidentiality
                                                          of 144. PageID #: 83358
                                                                              Review

      1              this one?
      2                         MS. SWIFT:       Yep.
      3                         (Comments off the stenographic
      4              record.)
      5      BY MS. SWIFT:
      6              Q.         I'm marking as Exhibit 25 an
      7      excerpt of McCann's Appendix 11, and like
      8      with the others today, what we've done is
      9      pulled out the pages that relate to
     10      Walgreens, okay?
     11              A.         Okay.
     12              Q.         Have you ever seen the charts
     13      that appear in Exhibit 25?
     14              A.         I believe I looked at these
     15      because they were part of the methodology
     16      analysis.
     17              Q.         Who shared them with you?
     18              A.         I believe Mr. Elkins would have
     19      provided them to me.
     20              Q.         The plaintiffs' lawyer,
     21      Mr. Elkins?
     22              A.         Yes.
     23              Q.         When did Mr. Elkins share the
     24      charts in Exhibit 25 with you?
     25              A.         I don't recall.

   Golkow Litigation Services                                             Page 547
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 110Confidentiality
                                                          of 144. PageID #: 83359
                                                                              Review

      1              Q.         You didn't cite or attach any
      2      of these charts to your report, correct, sir?
      3              A.         No, I don't believe I did.
      4              Q.         You've never talked to
      5      Dr. McCann about any of the charts in his
      6      report; am I right about that?
      7              A.         That's correct.
      8              Q.         Okay.     All right.       You can set
      9      those aside.        That's all I was going to do
     10      with that one.
     11                         Turn, if you would, please, to
     12      page 115 of your report.             Page 115 is within
     13      the Walgreens section and talks about an
     14      investigation of the Jupiter distribution
     15      center in Florida, correct, sir?
     16              A.         It does at the bottom of the
     17      page.
     18              Q.         You didn't have any personal
     19      involvement in the Jupiter, Florida
     20      investigation of Walgreens, correct?
     21              A.         No, ma'am, I don't believe so.
     22              Q.         To the extent that you have
     23      opinions about the Jupiter, Florida
     24      investigation, you're relying entirely on the
     25      Order to Show Cause and related documents

   Golkow Litigation Services                                             Page 548
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 111Confidentiality
                                                          of 144. PageID #: 83360
                                                                              Review

      1      attached to Walgreens' 2013 settlement
      2      agreement with the DEA -- is that right --
      3      cited in note 493?
      4              A.         Yes, ma'am.
      5              Q.         Okay.     Did you -- in preparing
      6      for your -- to write your report, did you
      7      review any of the documents showing
      8      Walgreens' efforts to cooperate with Florida
      9      DEA and local law enforcement in 2010 and
     10      2011?
     11                         Do you remember anything like
     12      that?
     13              A.         I don't remember reviewing any
     14      records or communications in regards to that,
     15      no, ma'am.
     16              Q.         In preparing your report, did
     17      you review any of the documents produced by
     18      the plaintiffs, Cuyahoga and Summit County,
     19      showing Walgreens' pharmacists notifying
     20      local law enforcement when they suspected
     21      diversion?
     22              A.         No, ma'am.
     23              Q.         Turn, if you would, please, to
     24      page 118.       I'll direct your attention to the
     25      last paragraph on the page that starts

   Golkow Litigation Services                                             Page 549
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 112Confidentiality
                                                          of 144. PageID #: 83361
                                                                              Review

      1              A.         Yes.
      2              Q.         But if you look at the CVS line
      3      for Cuyahoga County on page 41, you've got
      4              of the total dosage units are flagged
      5      using the trailing six-month threshold?
      6              A.         I do.
      7              Q.         And you have            of the total
      8      dosage units in Summit County that are
      9      flagging, right?
     10              A.         I do.
     11              Q.         And if you remove the
     12      assumption that everything after one failed
     13      due diligence effort flags, do you know what
     14      those numbers go down to?
     15              A.         I do not.
     16              Q.         You have no clue?
     17              A.         I have no clue.
     18              Q.         If I told you that in Summit
     19      County they go down to                  rather than           ,
     20      and they go down to                 rather than            in
     21      Cuyahoga, would that surprise you?
     22              A.         I wouldn't have a comment on
     23      those figures.
     24              Q.         Now, you also have testified
     25      already a little bit about whether or not you

   Golkow Litigation Services                                             Page 581
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 113Confidentiality
                                                          of 144. PageID #: 83362
                                                                              Review

      1      reviewed any particular orders, and I think
      2      your answer in substance is no, you didn't
      3      review any particular orders that might or
      4      might not have been suspicious.
      5                         Is that generally true?
      6              A.         That's generally true, that's
      7      my recollection is I answered that way
      8      previously, too, yes, sir.
      9              Q.         And with respect to any of the
     10      orders that are flagged by these
     11      methodologies under your and Mr. McCann's
     12      analysis, you don't know what happened to any
     13      of the drugs that were actually shipped and
     14      delivered to CVS Pharmacies?
     15              A.         I don't have any direct
     16      knowledge of what happened to any of the
     17      drugs that were distributed to each of the
     18      pharmacies.        I didn't conduct any analysis as
     19      of today that would give me that knowledge.
     20              Q.         And you don't know whether -- I
     21      understand that your opinion is that the due
     22      diligence was insufficient by CVS, and we'll
     23      get to that in a minute.
     24                         But you don't know whether any
     25      of these orders would have cleared a due

   Golkow Litigation Services                                             Page 582
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 114Confidentiality
                                                          of 144. PageID #: 83363
                                                                              Review

      1      diligence investigation that does meet your
      2      exacting standards, do you?
      3              A.         Could you say that one more
      4      time, I'm sorry?
      5              Q.         I'm just saying you don't know
      6      whether any of the orders that are flagged
      7      using your and Mr. McCann's methodologies for
      8      CVS would have been cleared using what you
      9      would say is an adequate due diligence
     10      process.      You haven't done that analysis.
     11              A.         So I think what you're asking,
     12      is it a hypothetical question?
     13              Q.         Yes.
     14              A.         Okay.
     15              Q.         Well, no, actually it's not.
     16      You don't know.         I'm asking you.          You don't
     17      know?
     18              A.         Well, I guess you're asking me
     19      to assume that if CVS had an adequate due
     20      diligence system in place and they conducted
     21      it?    Is that the question?            Maybe I don't
     22      understand the question.
     23              Q.         Let's -- if you took your
     24      standards for a due diligence system --
     25              A.         Okay.

   Golkow Litigation Services                                             Page 583
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 115Confidentiality
                                                          of 144. PageID #: 83364
                                                                              Review

      1      that.     It's just that I wasn't tasked to
      2      provide that methodology in regards to
      3      manufacturers at this time.
      4              Q.         I understand.        But your report
      5      doesn't identify any suspicious orders that
      6      were submitted by distributors to
      7      manufacturers.
      8              A.         My report would only identify
      9      those orders that the manufacturers have
     10      identified.        I don't make any independent
     11      calculations or apply any algorithms to
     12      identify it outside of what's in my report
     13      stated as I've discovered as part of this
     14      discovery.
     15              Q.         Okay.     So other than the
     16      reports that the manufacturers themselves
     17      reported to DEA, you have not identified any
     18      suspicious orders submitted by distributors
     19      to manufacturers, correct?
     20              A.         Can I ask a clarification?              Are
     21      you talking about an individual order or are
     22      you talking about conduct?
     23              Q.         I'm talking about individual
     24      orders.
     25              A.         I have not done that as we sit

   Golkow Litigation Services                                             Page 632
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 116Confidentiality
                                                          of 144. PageID #: 83365
                                                                              Review

      1      here today, no, sir.
      2              Q.         Okay.     So your report does not
      3      identify any shipments by manufacturers to
      4      distributors that you claim should have been
      5      reported as suspicious?
      6              A.         My opinion goes to whether or
      7      not there were effective -- or suspicious
      8      orders, effective suspicious order systems in
      9      place and/or the maintenance of effective
     10      controls, the due diligence.               I do not do any
     11      calculations that would identify any specific
     12      orders.
     13              Q.         Okay.     So just to be clear, in
     14      response to my question, your report does not
     15      identify any shipments by manufacturers to
     16      distributors that you claim should have been
     17      reported as suspicious, correct?
     18              A.         I think there's some instances
     19      in my report, there was -- there may be a
     20      description of a relationship or some
     21      transactions between a -- let me think a
     22      second.
     23              Q.         Uh-huh.
     24              A.         Because I have all of the
     25      different companies.

   Golkow Litigation Services                                             Page 633
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 117Confidentiality
                                                          of 144. PageID #: 83366
                                                                              Review

      1                         (Document review.)
      2              A.         I don't believe so, no, sir.
      3      BY MR. O'CONNOR:
      4              Q.         Okay.     And at trial, do you
      5      intend to offer any opinion regarding whether
      6      any particular order submitted to a
      7      manufacturer was suspicious?
      8              A.         If I'm requested to do that
      9      analysis by counsel, I guess that would be a
     10      possibility.        I haven't done the analysis as
     11      today, so I couldn't offer that opinion.
     12              Q.         So as you sit here today, you
     13      do not have an opinion on whether any
     14      particular order that was shipped by a
     15      manufacturer was suspicious?
     16              A.         I think I have an opinion.
     17              Q.         But you haven't identified any
     18      order, correct?
     19              A.         I have not identified a
     20      specific order, but I have an opinion on the
     21      conduct.
     22              Q.         And are you offering any
     23      opinion in this litigation that any
     24      particular order that was shipped into Summit
     25      or Cuyahoga Counties was suspicious?

   Golkow Litigation Services                                             Page 634
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 118Confidentiality
                                                          of 144. PageID #: 83367
                                                                              Review

      1              A.         Yes.
      2              Q.         Okay.     And are you offering any
      3      opinion in this litigation that any
      4      particular order shipped by a manufacturer
      5      into Summit or Cuyahoga County was
      6      suspicious?
      7              A.         I'm sorry, shipped by a
      8      manufacturer --
      9              Q.         Correct.
     10              A.         -- to a distributor?
     11              Q.         That's right.        To -- to someone
     12      in Cuyahoga or Summit County.
     13              A.         No, sir.
     14              Q.         Okay.     With respect to a
     15      manufacturer, what is a suspicious order?
     16              A.         Well, if a manufacturer has
     17      conducted a sufficient due diligence or
     18      onboarding process and they've evaluated the
     19      scope of their customers' business and the
     20      needs, they would establish a pattern, and
     21      that pattern would give them an idea of
     22      initially the volume of drugs they need to
     23      purchase.
     24                         Now, if it's brand-new
     25      customer -- yours is kind of a hypothetical.

   Golkow Litigation Services                                             Page 635
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 119Confidentiality
                                                          of 144. PageID #: 83368
                                                                              Review

      1      If it's a brand-new customer, there's not a
      2      pattern or a frequency, but they would start
      3      out with what they assess as a legitimate
      4      volume, and they would monitor that volume,
      5      and if a customer exceeded that, that should
      6      trigger as an unusual size.
      7                         But to give you just a general
      8      definition, it's kind of a broad topic
      9      because it depends on the scope of business
     10      of the manufacturer, of the customer, the
     11      type of products, the needs, so the -- prior
     12      to ever shipping an order, the importance is
     13      to understand what the legitimate needs is of
     14      a customer.
     15              Q.         Yesterday you testified that it
     16      was important to understand what a usual
     17      order was so that you could determine what a
     18      suspicious order was.
     19                         Do you generally recall that
     20      testimony?
     21              A.         I think that's a general
     22      description.        I think we were discussing the
     23      size, so I think before you would know an
     24      unusual size, you would need to know the
     25      usual size.

   Golkow Litigation Services                                             Page 636
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 120Confidentiality
                                                          of 144. PageID #: 83369
                                                                              Review

      1              Q.         What does that term mean?
      2                         MR. FULLER:       Form.
      3              A.         Well, manufacturers are in a
      4      unique position at the top of the
      5      distribution chain, that their products pass
      6      through distributors down to pharmacies.
      7                         So there's a couple concepts
      8      within that know your customer's customer.
      9      There's, of course, if you have the
     10      information that you already have the ability
     11      to know, things like chargebacks and IQVIA,
     12      that's an example of information, know
     13      your -- you know, you know your customer's
     14      customer.
     15                         Secondly, a manufacturer would
     16      have the responsibility under the maintenance
     17      of effective controls to do an analysis of
     18      who their customers are, which would be the
     19      distributors.
     20                         So it would be incomplete to go
     21      do an analysis on them when they don't have
     22      an understanding of where their products
     23      would ultimately go.
     24      BY MR. O'CONNOR:
     25              Q.         If a manufacturer wanted to

   Golkow Litigation Services                                             Page 653
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 121Confidentiality
                                                          of 144. PageID #: 83370
                                                                              Review

      1      understand what this idea of know your
      2      customer's customer meant, it couldn't look
      3      in the regulations, could it, because it's
      4      not there?
      5                         MR. FULLER:       Form.
      6              A.         I think it's encompassed in the
      7      maintenance of effective controls.
      8      BY MR. O'CONNOR:
      9              Q.         But to be clear, the
     10      maintenance of effective controls regulation
     11      does not mention anything about knowing your
     12      customer's customer, does it?
     13              A.         It doesn't give any specific
     14      guidance, but I think what it does is it puts
     15      a manufacturer or any registrant on notice
     16      that their continued use of a DEA
     17      registration requires them to take steps to
     18      prevent diversion, and I believe that getting
     19      that information is one of those steps.
     20                         But so just -- just so it --
     21      but I guess if your question is does it
     22      specifically say that term?               It does not.
     23              Q.         And DEA never issued any
     24      guidance to manufacturers informing them of
     25      their supposed obligation to monitor -- or to

   Golkow Litigation Services                                             Page 654
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 122Confidentiality
                                                          of 144. PageID #: 83371
                                                                              Review

      1      know their customer's customers, correct?
      2                         MR. FULLER:       Form.
      3              A.         I know I've reviewed where it
      4      was presented at some training, but I'm not
      5      sure if that was by an industry or a
      6      consultant.
      7      BY MR. O'CONNOR:
      8              Q.         DEA --
      9              A.         So I'll say no.
     10              Q.         DEA --
     11              A.         I'm not aware of it.           At least
     12      I'm not aware they've done it.                I'm not
     13      saying they have not done it.
     14              Q.         DEA never published guidance in
     15      the Federal Register saying anything about
     16      knowing your customer's customer, did it?
     17              A.         They have not done that.
     18              Q.         Okay.     And they never sent a
     19      letter to all manufacturers, for example,
     20      saying they were to know their customer's
     21      customer, did they?
     22              A.         I'd like to look at the 2007
     23      letter.      I think it may say all relevant
     24      transaction information, and I would consider
     25      that relevant transaction information.

   Golkow Litigation Services                                             Page 655
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 123Confidentiality
                                                          of 144. PageID #: 83372
                                                                              Review

      1      prescribed in the MOA can be greater than the
      2      duties imposed by statute, fair?
      3              A.         No, I don't agree with that.               I
      4      think under maintenance of effective
      5      controls, that's a broad regulation, and I
      6      think all of these things fit under there.
      7                         I think I could -- I could hold
      8      another manufacturer, if I was still a DEA
      9      diversion investigator.             I think the
     10      statements entered because it kind of affirms
     11      that that is a -- to me, that they
     12      acknowledge that that is their
     13      responsibility, because I wouldn't expect
     14      them to do it if they didn't think it was.
     15              Q.         Just to be clear, are you
     16      saying that every duty that's imposed on any
     17      registrant through a memorandum of agreement
     18      is by definition also required by the law?
     19                         MR. FULLER:       Form.
     20              A.         Yes.
     21      BY MR. O'CONNOR:
     22              Q.         Are you aware of any DEA
     23      guidance that's ever been issued that
     24      supports the statement you just made?
     25              A.         In regards to the -- whether

   Golkow Litigation Services                                             Page 661
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 124Confidentiality
                                                          of 144. PageID #: 83373
                                                                              Review

      1      the MOAs are all legal requirements?                   No,
      2      sir.
      3              Q.         Okay.     In connection with your
      4      opinion, you examined the suspicious order
      5      monitoring programs of seven manufacturers,
      6      correct?
      7              A.         Yes, sir.
      8              Q.         And each of those programs or
      9      systems was different from one another,
     10      correct?
     11              A.         Yes, sir.
     12              Q.         And you believe they all fell
     13      short of the regulatory responsibilities
     14      imposed by the CSA and CFR, correct?
     15              A.         Yes, sir.      Just to add the
     16      caveat that some of them didn't have systems,
     17      but, yes, sir.
     18              Q.         Fair to say of the seven you
     19      saw, you weren't satisfied with any of them?
     20              A.         That's correct.
     21              Q.         Have you ever come across a
     22      manufacturer's suspicious order monitoring
     23      program that you did think satisfied
     24      regulatory requirements?
     25                         MR. FULLER:       Form.

   Golkow Litigation Services                                             Page 662
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 125Confidentiality
                                                          of 144. PageID #: 83374
                                                                              Review

      1              A.         I can think of one.
      2      BY MR. O'CONNOR:
      3              Q.         What was that?
      4              A.         I'm not sure I can discuss that
      5      with the Touhy letter.
      6                         MR. FULLER:       Not if it was
      7              based on an investigation that you did
      8              while an agent.
      9                         MR. O'CONNOR:        Sorry, are you
     10              not answering that question?
     11                         THE WITNESS:        That's what I
     12              stated, sir.
     13                         MR. O'CONNOR:        Okay.
     14                         THE WITNESS:        Because it's not
     15              publicly readily available that
     16              someone would know that.
     17      BY MR. O'CONNOR:
     18              Q.         While we're talking about
     19      Touhy, you have said and your counsel has
     20      stated on a number of occasions yesterday and
     21      today that you're not permitted to speak
     22      about any particular investigation you were
     23      involved in while at the DEA; is that fair?
     24              A.         That's not publicly or readily
     25      available.

   Golkow Litigation Services                                             Page 663
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 126Confidentiality
                                                          of 144. PageID #: 83375
                                                                              Review

      1              Q.         Okay.     And with respect to
      2      Mallinckrodt in particular, given those
      3      restrictions, is it fair to say that all of
      4      the opinions you express in your report are
      5      based on materials that you reviewed in
      6      connection with this litigation?
      7              A.         Yes, sir.
      8              Q.         And your opinions are not based
      9      on any other information outside of what
     10      you've relayed and referred to in your
     11      report?
     12              A.         Well, it's difficult to --
     13      since I worked the case for a period of
     14      years, obviously, that there may be things I
     15      know that aren't part of the discovery, but
     16      the opinion I wrote is only based on the
     17      information contained in my report.
     18              Q.         Okay.     And do you intend at
     19      trial to offer any information or opinions
     20      that are based on something other than what
     21      you've cited here in this report?
     22                         MR. FULLER:       Object to form,
     23              based on the same basis earlier.
     24              A.         If the Touhy letter is in place
     25      and it's restricted by the government, then I

   Golkow Litigation Services                                             Page 664
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 127Confidentiality
                                                          of 144. PageID #: 83376
                                                                              Review

REDACTED


      3              Q.         How much oxycodone would a
      4      pharmacy have to purchase for you to conclude
      5      that it's diverting oxycodone?
      6              A.         I'd have to see their customer
      7      file and what their scope of business, who
      8      they're supplying to be able to make that
      9      determination.         There's not just a --
     10              Q.         And that's because you cannot
     11      determine whether diversion is occurring
     12      simply by looking at the volume, correct?
     13              A.         That's not correct.           So if we
     14      look at a pharmacy with a population of 1,000
     15      people and there's a million pills go
     16      there -- and that's an extreme case, but I
     17      think I could clearly say there's something
     18      occurring, diversion's occurring there.
     19                         If it's an amount that's not
     20      consumable by that geographic area, I would
     21      say it's very likely that there's diversion
     22      occurring.
     23              Q.         Outside of this extreme case
     24      that you mention where there's a population
     25      of 1,000 getting a million pills, fair to say

   Golkow Litigation Services                                             Page 692
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 128Confidentiality
                                                          of 144. PageID #: 83377
                                                                              Review

      1      that a manufacturer can't tell if the
      2      diversion is occurring simply by looking at
      3      the volume of a purchase?
      4              A.         Are you saying that if they saw
      5      that situation, they would say that diversion
      6      is occurring and then outside of that
      7      situation?       I think generally speaking, just
      8      looking at volume of a pharmacy, I think they
      9      would have sufficient data.
     10                         So let's say, for example,
     11      Mallinckrodt, they distribute to many
     12      distributors who then distribute to many
     13      pharmacies, so I think they have established
     14      a pretty good baseline of what a usual order
     15      is.    So I think they would identify some
     16      pharmacies by volume that would rise to a
     17      level of suspicion.
     18                         I would agree -- generally
     19      agree that in most cases the amount of the
     20      drug alone wouldn't immediately make them
     21      suspicious -- say that that is a suspicious
     22      order, but I think there is a point or a
     23      volume where it's very likely that is going
     24      to occur.       Florida would be an example of
     25      that.

   Golkow Litigation Services                                             Page 693
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 129Confidentiality
                                                          of 144. PageID #: 83378
                                                                              Review

      1              Q.         With respect to your review of
      2      manufacturers' suspicious order monitoring
      3      programs, what methodology did you apply in
      4      coming to your opinions?
      5              A.         The one that was identified or
      6      the lack of one that was identified by each
      7      manufacturer.
      8              Q.         But what methodology did you
      9      apply when assessing the suspicious order
     10      monitoring programs?
     11              A.         Well, I would apply my
     12      training, experience, knowledge in doing
     13      these kinds of cases, in regards to what I --
     14      was provided to me to make judgment and form
     15      an opinion.
     16              Q.         And when you say "provided to,"
     17      you mean by plaintiffs' counsel?
     18              A.         No, by -- in discovery.
     19              Q.         And you received that
     20      discovery -- those discovery materials
     21      through plaintiffs' counsel, correct?
     22              A.         Yes, but at my direction of
     23      what documents I wanted to see.                 I know we'll
     24      get back to the --
     25              Q.         So you --

   Golkow Litigation Services                                             Page 694
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 130Confidentiality
                                                          of 144. PageID #: 83379
                                                                              Review

      1              A.         -- the, you know, whether
      2      everything was provided to me, but my opinion
      3      is based on -- which I believe is everything
      4      that was available and the topics I
      5      requested.
      6              Q.         Okay.     So your opinion is based
      7      solely on your review of the documents that
      8      you received and that -- and your experience;
      9      is that fair?
     10              A.         Experience and training, yes,
     11      sir.
     12              Q.         Okay.
     13              A.         And legal guidance.
     14              Q.         From plaintiffs' counsel?
     15              A.         No, from my employment with the
     16      DEA.
     17              Q.         So your own legal opinions?
     18              A.         No, receiving legal guidance
     19      from lawyers.
     20              Q.         Okay.     At DEA?
     21              A.         Yes, sir.
     22              Q.         Okay.     Are you familiar with
     23      Scott Higham?
     24              A.         The Washington Post reporter?
     25              Q.         Yes.

   Golkow Litigation Services                                             Page 695
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 131Confidentiality
                                                          of 144. PageID #: 83380
                                                                              Review

      1              A.         Yes, sir.
      2              Q.         Have you ever had a
      3      conversation with Scott Higham?
      4              A.         Yes, sir.
      5              Q.         How many times?
      6              A.         I don't know, four or five.
      7              Q.         What was the substance of those
      8      communications?
      9              A.         Initial were he was writing an
     10      article about the DEA and the new -- I think
     11      it was a regulation or change in the law --
     12      change in regulation or law which was in
     13      regards to when a registrant sees some
     14      adverse or administrative action, they get to
     15      do a correction plan.            And I think he wanted
     16      me to make some comments on that, so I
     17      provided some comments I believe that he
     18      published in an article.
     19              Q.         Did you ever discuss
     20      Mallinckrodt with Scott Higham?
     21              A.         I believe I probably did,
     22      postsettlement.
     23              Q.         When was your first
     24      conversation with Mr. Higham?
     25              A.         I don't recall.

   Golkow Litigation Services                                             Page 696
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 132Confidentiality
                                                          of 144. PageID #: 83381
                                                                              Review

      1      investigation, whether you would raise those
      2      with the registrant?
      3                         MR. FULLER:       Same objection and
      4              instruction.         Point out to counsel
      5              that we have a 30(b) of the DEA on
      6              Friday and you can ask the question.
      7                         THE WITNESS:        I'm not going to
      8              answer the question because of the
      9              Touhy.
     10      BY MS. LUCAS:
     11              Q.         Well, are you aware that
     12      Mr. Prevoznik has testified that if the DEA
     13      has concerns about a registrant's suspicious
     14      order monitoring written policies, it would
     15      raise those concerns with the registrant?
     16              A.         I would -- I would either not
     17      be surprised or not surprised that he raised
     18      those concerns, but I believe he would be, in
     19      his position, in a better position to be able
     20      to know whether to release that information
     21      and the public availability.               I don't.       Or
     22      whether he has a Touhy authorization to speak
     23      to that or not.
     24              Q.         Well, you're not telling me
     25      that if a DEA diversion inspector came to

   Golkow Litigation Services                                               Page 731
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 133Confidentiality
                                                          of 144. PageID #: 83382
                                                                              Review

      1      Janssen and inspected the system, the
      2      suspicious order monitoring system, and had
      3      concerns about that program, you're not
      4      telling me that they would just do nothing,
      5      right?
      6                         MR. FULLER:       Object to form.
      7                         Same Touhy issue.
      8              A.         I can't answer that because of
      9      the Touhy issue but I'm not making a comment
     10      one way or the other on that statement.
     11                         Taking the Touhy doesn't mean
     12      that I'm not answering affirmatively or
     13      negatively.
     14      BY MS. LUCAS:
     15              Q.         Whether a suspicious order
     16      monitoring program is compliant with the CSA
     17      depends on the type of company and the scope
     18      of the business model and customers you said
     19      earlier, correct?
     20              A.         Some of the things, yes, ma'am.
     21              Q.         Would it also depend on the
     22      medications at issue?            Yes or no?
     23              A.         That could have a bearing also.
     24              Q.         The abuse rates of those
     25      medications?

   Golkow Litigation Services                                             Page 732
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 134Confidentiality
                                                          of 144. PageID #: 83383
                                                                              Review

      1              A.         Yes, or the nonabuse rates.
      2              Q.         The geographic location or
      3      where they're being sold?
      4              A.         Yes.
      5              Q.         The sales volume in that
      6      geography?
      7              A.         That could be another factor,
      8      yes, ma'am.
      9              Q.         All right.       I'm going to ask
     10      you some quick yes or nos and then I need to
     11      pass the witness while reserving my rights
     12      since I have many, many more questions for
     13      you.
     14                         Do you know how many customers
     15      Janssen had during the time it sold
     16      Duragesic?
     17              A.         No, I do not.
     18              Q.         Do you know how many customers
     19      Janssen had during the time it sold Nucynta?
     20              A.         I have not evaluated that
     21      information as far as the ARCOS, so, no, I do
     22      not at this time.
     23              Q.         Do you know how many orders per
     24      month Janssen received from its customers for
     25      Duragesic?

   Golkow Litigation Services                                             Page 733
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 135Confidentiality
                                                          of 144. PageID #: 83384
                                                                              Review

      1              A.         No, I do not at this time.
      2              Q.         Do you know how many orders per
      3      month Janssen received from its customers for
      4      Nucynta?
      5              A.         No, I do not, not at this time.
      6              Q.         Do you know Janssen's market
      7      share for its opioid medications sold in the
      8      Track 1 jurisdictions?
      9              A.         No, I do not at this time.
     10              Q.         Do you know the rates of
     11      diversion for Duragesic or Nucynta in the
     12      Track 1 jurisdictions?
     13              A.         I'm not sure there's any
     14      analysis or information available to give any
     15      concise rate of diversion of any drug.
     16              Q.         So is that a no?
     17              A.         I think that's a no.
     18              Q.         Do you know how many shipments
     19      of Duragesic Janssen flagged through its
     20      algorithm and investigated as potentially
     21      suspicious?
     22              A.         Janssen's never reported a
     23      suspicious order to the DEA.
     24              Q.         My question was different.
     25              A.         Oh, I'm sorry.         Misunderstood

   Golkow Litigation Services                                             Page 734
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 136Confidentiality
                                                          of 144. PageID #: 83385
                                                                              Review

      1      it then.
      2              Q.         Do you know how many shipments
      3      of Duragesic Janssen's algorithm flagged and
      4      Janssen subsequently investigated before
      5      releasing?
      6              A.         I do not.
      7              Q.         Do you know how many shipments
      8      of Nucynta Janssen flagged as potentially
      9      suspicious and investigated before releasing?
     10              A.         I didn't do that type of
     11      analysis up to today on that, on the data in
     12      regards to those products and that
     13      registrant.
     14              Q.         Yes or no, did you know that
     15      Janssen has reported a physician to the DEA
     16      based on a sales representative's tip?
     17              A.         I have not reviewed a document
     18      that had indicated that to me, no, ma'am.
     19              Q.         Do you know of any instance in
     20      the Track 1 jurisdictions of Duragesic being
     21      diverted?
     22              A.         At this time, no, ma'am.
     23              Q.         Do you know of any instance in
     24      the Track 1 jurisdictions of Nucynta being
     25      diverted?

   Golkow Litigation Services                                             Page 735
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 137Confidentiality
                                                          of 144. PageID #: 83386
                                                                              Review

      1              A.         At this time, no, ma'am.
      2              Q.         Do you know how many
      3      inspection -- or strike that.
      4                         Do you know how many regulatory
      5      investigations Janssen -- strike that again.
      6                         Do you know how many DEA
      7      regulatory investigations of Janssen
      8      distribution centers were conducted during
      9      the relevant time period in this case?
     10              A.         I do not because that
     11      information would not be available to me.
     12              Q.         Are you aware, yes or no, that
     13      the DEA conducted multiple regulatory
     14      investigations of Janssen using at least 14
     15      different DEA diversion investigators since
     16      2008?
     17              A.         Were those regulatory
     18      investigations that -- I'm sorry, with your
     19      question --
     20              Q.         Were you aware of --
     21              A.         Could you answer --
     22              Q.         Well, let me --
     23              A.         Could you restate that for me?
     24      Just whether it was inspections or regulatory
     25      investigations, I just need clarification.

   Golkow Litigation Services                                             Page 736
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 138Confidentiality
                                                          of 144. PageID #: 83387
                                                                              Review

      1              Q.         Were you aware that the DEA
      2      conducted multiple regulatory investigations
      3      of Janssen using at least 14 different DEA
      4      diversion investigators since 2008?
      5              A.         No, I'm not aware of that, but
      6      just for clarification purposes, I've been at
      7      manufacturers where there were groups of
      8      people, so the number, multiple, I would
      9      acknowledge is more than one.
     10                         But when you say 14 people, to
     11      go to a manufacturer, sometimes there are
     12      large groups of people that go, so...
     13              Q.         Is that a no?
     14              A.         It's -- so I would answer that
     15      with the information you provided me, I
     16      wouldn't comment.          I don't know one way or
     17      the other.
     18              Q.         Were you aware of any
     19      regulatory investigations of Janssen by the
     20      DEA since 2008?
     21              A.         I don't have any direct
     22      knowledge of any investigations, ma'am.
     23              Q.         Did you ask to see any
     24      documents reflecting DEA regulatory
     25      investigations of Janssen?

   Golkow Litigation Services                                             Page 737
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 139Confidentiality
                                                          of 144. PageID #: 83388
                                                                              Review

      1              A.         I believe he did make that
      2      comment, yes.        He didn't say that it was
      3      sufficient to be compliant, but he did say it
      4      was an improvement.
      5              Q.         But again, he didn't say that
      6      it wasn't compliant with DEA regulations?
      7              A.         No, I didn't say that.
      8              Q.         My question to you is:            He
      9      didn't say that it wasn't compliant with DEA
     10      regulations?
     11              A.         He never made that exact
     12      statement.
     13              Q.         Teva also had an internal audit
     14      of its own suspicious order monitoring
     15      program?
     16              A.         I believe so, yes.
     17              Q.         And that program was rated
     18      overall as effective, correct?
     19              A.         Yes, but it's an internal
     20      audit.
     21              Q.         The DEA regulations don't
     22      require that companies actively audit their
     23      own programs, correct?
     24              A.         No, that's true.          But I only
     25      make that statement because sometimes the

   Golkow Litigation Services                                             Page 822
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 140Confidentiality
                                                          of 144. PageID #: 83389
                                                                              Review

      1      person that does the audit, without knowing
      2      the full information on the audit, is the
      3      person in charge of the system, so they don't
      4      typically give a bad audit to themselves.
      5                         So, I mean, I'm not totally
      6      discounting it, but I'm always concerned
      7      about internal audits.
      8              Q.         Mr. Rafalski, in your report
      9      you don't identify any suspicious order that
     10      Teva shipped to Summit County or Cuyahoga;
     11      isn't that correct?
     12              A.         I do not identify any single
     13      suspicious order -- any order specifically
     14      that was suspicious.
     15              Q.         And that goes for Cephalon and
     16      the Actavis entities as well, correct?
     17              A.         As I sit here today, that's an
     18      accurate statement.
     19              Q.         And you don't identify any
     20      order that Teva failed to flag as suspicious?
     21              A.         Is that question a specific
     22      order?
     23              Q.         Any order that Teva failed to
     24      flag as suspicious, you don't have an example
     25      of any specific order?

   Golkow Litigation Services                                             Page 823
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 141Confidentiality
                                                          of 144. PageID #: 83390
                                                                              Review

      1              A.         No, I think my examples in here
      2      are more -- go more to the conduct of the due
      3      diligence and it doesn't specifically say
      4      that there was a specific order, but I think
      5      the totality of the incident that I describe
      6      on page 183 I think would include that, but
      7      to answer your question, there's no specific
      8      order where I state that.
      9              Q.         And I want to ask you quickly
     10      about that order.
     11                         You're speaking of the Publix
     12      Supermarket pharmacies incident or scenario
     13      that we discussed -- that's in your report on
     14      page 183?
     15              A.         Yes, I am.
     16              Q.         The orders involving the Publix
     17      Supermarket pharmacies were not orders placed
     18      from Publix to Teva, were they?
     19              A.         No, they were placed to a
     20      distributor, an in-between so --
     21              Q.         Right.     They were orders placed
     22      from Publix to Anda, correct?
     23              A.         Yes.    But so the first concern
     24      that I would have with this is that Teva
     25      would need a means of effective controls to

   Golkow Litigation Services                                             Page 824
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 142Confidentiality
                                                          of 144. PageID #: 83391
                                                                              Review

      1      go to Anda and see why this situation
      2      occurred.
      3              Q.         And it did do that, correct?
      4              A.         I don't recall that occurring.
      5              Q.         Well, so you read the
      6      deposition of Joe Tomkiewicz, didn't you?
      7              A.         Yes.
      8              Q.         And sitting here today, you
      9      don't know whether any of Teva's product was
     10      ultimately shipped to one of those Publix
     11      Supermarkets that Joe Tomkiewicz identified
     12      as entities he wanted to look into, correct?
     13              A.         Based on my review, he was
     14      looking at the chargebacks, and I believe
     15      they were Teva products.
     16              Q.         But you would agree with me
     17      that Joe Tomkiewicz testified he didn't see
     18      any specific orders of Teva's products,
     19      correct?
     20              A.         Yes, but if they weren't Teva's
     21      products, I'm not sure that he would have
     22      taken all this action unless he was
     23      indicating it was someone else's product that
     24      he was going to go investigate.
     25              Q.         Well, he could have been

   Golkow Litigation Services                                             Page 825
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 143Confidentiality
                                                          of 144. PageID #: 83392
                                                                              Review

      1              Q.         And so I'd like you, if you
      2      could, to just open your report to page 7.
      3      You know that Anda, Inc. is one of the
      4      defendants in this action, right?
      5              A.         I believe so, yes, sir.
      6              Q.         Okay.     Looking at page 7 of
      7      your report, in the second full paragraph,
      8      you wrote:       I am of the opinion to a
      9      reasonable degree of professional certainty
     10      that there was a systematic, prolonged
     11      failure over many years by the defendant
     12      manufacturers and distributors to maintain
     13      effective controls against diversion of
     14      legitimate opioid prescriptions into the
     15      illicit market.
     16                         Did I read that correctly?
     17              A.         You did.
     18              Q.         So Anda is a defendant, right?
     19              A.         Yes, sir.
     20              Q.         And that opinion as described
     21      on page 7 does not apply to Anda, right?
     22              A.         As I sit here today, no, I have
     23      not reviewed any records related to Anda.
     24              Q.         Okay.     I want to ask one more
     25      question following up on your testimony.

   Golkow Litigation Services                                             Page 841
Case:Highly
      1:17-md-02804-DAP Doc #:- 1900-3
              Confidential             Filed:
                                 Subject   to07/19/19
                                              Further 144Confidentiality
                                                          of 144. PageID #: 83393
                                                                              Review

      1                         During the course of the
      2      deposition, you've said on several occasions
      3      that your method for assessing the
      4      defendants' suspicious order monitoring
      5      systems is based in part on your experience,
      6      training and guidance from lawyers at DEA; is
      7      that correct?
      8                         Do you remember that testimony?
      9              A.         Yes, sir.
     10              Q.         Okay.     This is just a yes-or-no
     11      answer:      Does the Touhy authorization that
     12      you received for today's testimony prevent
     13      you from disclosing the legal guidance from
     14      DEA lawyers that supports your opinions?
     15              A.         So just so I understand the
     16      question.       Does the Touhy letter prevent me
     17      from answering that question?
     18              Q.         Right.
     19              A.         I believe it does, yes.
     20                         MR. MATTHEWS:        Thank you.        I
     21              have no further questions.
     22                         THE VIDEOGRAPHER:          Going off
     23              the record, 5:18 p.m.
     24                         (Proceedings recessed at
     25              5:18 p.m.)

   Golkow Litigation Services                                              Page 842
